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                                                           Morbidity and Mortality Weekly Report
Surveillance Summaries / Vol. 71 / No. 10                                            November 25, 2022




       Abortion Surveillance — United States, 2020




                                            U.S. Department of Health and Human Services
                                            Centers for Disease Control and Prevention


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                            Abortion Surveillance — United States, 2020
              Katherine Kortsmit, PhD1; Antoinette T. Nguyen, MD1; Michele G. Mandel1; Elizabeth Clark, MD1; Lisa M. Hollier, MD1;
                                              Jessica Rodenhizer, MPH1; Maura K. Whiteman, PhD1

                        1Division of Reproductive Health, National Center for Chronic Disease Prevention and Health Promotion, CDC


                                                                       Abstract
Problem/Condition: CDC conducts abortion surveillance to document the number and characteristics of women obtaining
legal induced abortions and number of abortion-related deaths in the United States.
Period Covered: 2020.
Description of System: Each year, CDC requests abortion data from the central health agencies for the 50 states, the District of
Columbia, and New York City. For 2020, a total of 49 reporting areas voluntarily provided aggregate abortion data to CDC. Of
these, 48 reporting areas provided data each year during 2011–2020. Census and natality data were used to calculate abortion rates
(number of abortions per 1,000 women aged 15–44 years) and ratios (number of abortions per 1,000 live births), respectively.
Abortion-related deaths from 2019 were assessed as part of CDC’s Pregnancy Mortality Surveillance System (PMSS).
Results: A total of 620,327 abortions for 2020 were reported to CDC from 49 reporting areas. Among 48 reporting areas with
data each year during 2011–2020, in 2020, a total of 615,911 abortions were reported, the abortion rate was 11.2 abortions per
1,000 women aged 15–44 years, and the abortion ratio was 198 abortions per 1,000 live births. From 2019 to 2020, the total
number of abortions decreased 2% (from 625,346 total abortions), the abortion rate decreased 2% (from 11.4 abortions per 1,000
women aged 15–44 years), and the abortion ratio increased 2% (from 195 abortions per 1,000 live births). From 2011 to 2020,
the total number of reported abortions decreased 15% (from 727,554), the abortion rate decreased 18% (from 13.7 abortions
per 1,000 women aged 15–44 years), and the abortion ratio decreased 9% (from 217 abortions per 1,000 live births).
In 2020, women in their 20s accounted for more than half of abortions (57.2%). Women aged 20–24 and 25–29 years accounted
for the highest percentages of abortions (27.9% and 29.3%, respectively) and had the highest abortion rates (19.2 and 19.0 abortions
per 1,000 women aged 20–24 and 25–29 years, respectively). By contrast, adolescents aged <15 years and women aged ≥40 years
accounted for the lowest percentages of abortions (0.2% and 3.7%, respectively) and had the lowest abortion rates (0.4 and
2.6 abortions per 1,000 women aged <15 and ≥40 years, respectively). However, abortion ratios were highest among adolescents
(aged ≤19 years) and lowest among women aged 25–39 years.
Abortion rates decreased from 2011 to 2020 among all age groups. The decrease in abortion rate was highest among adolescents compared
with any other age group. From 2019 to 2020, abortion rates decreased or did not change for all age groups. Abortion ratios decreased
from 2011 to 2020 for all age groups, except adolescents aged 15–19 years and women aged 25–29 years for whom abortion ratios
increased. The decrease in abortion ratio was highest among women aged ≥40 years compared with any other age group. From 2019
to 2020, abortion ratios decreased for adolescents aged <15 and women aged ≥35 years and increased for women aged 15–34 years.
In 2020, 80.9% of abortions were performed at ≤9 weeks’ gestation, and nearly all (93.1%) were performed at ≤13 weeks’ gestation.
During 2011–2020, the percentage of abortions performed at >13 weeks’ gestation remained consistently low (≤9.2%). In 2020,
the highest percentage of abortions were performed by early medical abortion at ≤9 weeks’ gestation (51.0%), followed by surgical
abortion at ≤13 weeks’ gestation (40.0%), surgical abortion at >13 weeks’ gestation (6.7%), and medical abortion at >9 weeks’
gestation (2.4%); all other methods were uncommon (<0.1%). Among those that were eligible (≤9 weeks’ gestation), 63.9% of
abortions were early medical abortions. In 2019, the most recent year for which PMSS data were reviewed for pregnancy-related
deaths, four women died as a result of complications from legal induced abortion.
Interpretation: Among the 48 areas that reported data continuously during 2011–2020, overall decreases were observed during
2011–2020 in the total number, rate, and ratio of reported abortions. From 2019 to 2020, decreases also were observed in the
total number and rate of reported abortions; however, a 2% increase was observed in the total abortion ratio.
                                                                             Public Health Action: Abortion surveillance can be used to help
   Corresponding author: Division of Reproductive Health, National           evaluate programs aimed at promoting equitable access to patient-
   Center for Chronic Disease Prevention and Health Promotion, CDC.          centered quality contraceptive services in the United States to
   E-mail: cdcinfo@cdc.gov.
                                                                             reduce unintended pregnancies.


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                      Introduction                                         All abortions in this report are considered to be legally induced
                                                                           unless stated otherwise.
   This report summarizes data on legal induced abortions for                In most states and jurisdictions, collection of abortion data
2020 that were provided voluntarily to CDC by the central                  are facilitated by a legal requirement for hospitals, facilities,
health agencies of 49 reporting areas (47 states, the District             or physicians to report abortions to a central health agency
of Columbia, and New York City, excluding California,                      (13); however, reporting is not complete in all areas, including
Maryland, and New Hampshire) and comparisons over time                     in certain areas with reporting requirements (14). Because
for the 48 reporting areas that reported each year during                  the reporting of abortion data to CDC is voluntary, many
2011–2020 (47 states and New York City). This report also                  reporting areas have developed their own data collection
summarizes abortion-related deaths reported voluntarily to                 forms and might not collect or provide all the information
CDC for 2019 as part of the Pregnancy Mortality Surveillance               requested by CDC. As a result, the level of detail reported by
System (PMSS). Since 1969, CDC has conducted abortion                      CDC might vary from year to year and by reporting area. To
surveillance to document the number and characteristics of                 encourage uniform collection of data, CDC has collaborated
women obtaining legal induced abortions in the United States.              with the National Association for Public Health Statistics
After nationwide legalization of abortion in 1973, the total               and Information Systems (NAPHSIS) to develop reporting
number, rate (number of abortions per 1,000 women aged                     standards and provide technical guidance for vital statistics
15–44 years), and ratio (number of abortions per 1,000 live                personnel who collect and summarize abortion data within
births) of reported abortions increased rapidly, reaching the              the United States.
highest levels in the 1980s, before decreasing at a slow yet
steady pace (1,2). During 2006–2008, a break occurred in
the previously sustained pattern of decrease (3,4), although                    Variables and Categorization of Data
this break was followed in subsequent years by even greater                  Each year, CDC sends a suggested template to central
decreases (5,6). In 2017, the total number, rate, and ratio                health agencies in the United States for compilation of
of reported abortions reached historic lows (5); however,                  aggregate abortion data among women obtaining legal induced
from 2018 to 2019, 1%–3% increases were observed across                    abortions. Aggregate abortion numbers, without individual-
all measures (7). Nonetheless, despite the overall decreases,              level records, are requested for the following variables:
abortion incidence and practices have varied over the years and              • Age group in years of women obtaining legal induced
continue to vary across subpopulations (8–12), highlighting                     abortions (<15, 15–19 [age group and by individual year],
the utility of continued surveillance.                                          20–24, 25–29, 30–34, 35–39, or ≥40)
                                                                             • Gestational age of pregnancy in completed weeks at the
                                                                                time of abortion (≤6, 7–20 by individual week, or ≥21)
                         Methods                                             • Race (Black, White, or other [including Asian, Pacific
                                                                                Islander, other races, and multiple races]), ethnicity
    Description of the Surveillance System                                      (Hispanic or non-Hispanic), and race by ethnicity
   Each year, CDC requests aggregate data from the central                   • Method type (surgical abortion, intrauterine instillation,
health agencies of the 50 states, the District of Columbia, and                 medical [nonsurgical] abortion, or hysterectomy/hysterotomy)
New York City to document the number and characteristics of                  • Marital status (married [including currently married or
women obtaining legal induced abortions in the United States.                   separated] or unmarried [including never married,
Not all persons who obtain abortions identify as women; the term                widowed, or divorced])
“women” has been maintained in this report to be consistent with             • Number of previous live births (zero, one, two, three, or
the collection and reporting of denominator data used to calculate              four or more)
abortion rates and ratios. This report contains data voluntarily             • Number of previous induced abortions (zero, one, two,
reported to CDC as of August 19, 2022. For the purpose of                       or three or more)
surveillance, legal induced abortion is defined as an intervention           • Residence (the state, jurisdiction, territory, or foreign
performed within the limits of state law by a licensed clinician                country in which the women obtaining the abortion lived,
(e.g., a physician, nurse-midwife, nurse practitioner, or physician             or, if additional details are unavailable, in-reporting area
assistant) intended to terminate a suspected or known intrauterine              versus out-of-reporting area)
pregnancy and that does not result in a live birth. This definition          In addition, the template provided by CDC requests that
excludes management of intrauterine fetal death, early pregnancy           aggregate abortion numbers for certain variables be cross-
failure/loss, ectopic pregnancy, or retained products of conception.       tabulated by a second variable. The cross-tabulations presented



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in this report include weeks of gestation separately by method                  (number of abortions per 1,000 women within a given
type, by age group, and by race or ethnicity.                                   population), and 4) the abortion ratio (number of abortions
  Beginning with 2014 data, instead of reporting the clinician’s                per 1,000 live births within a given population). Abortion
estimates of gestational age or estimates of gestational age based              rates adjust for differences in population size. Abortion ratios
on last menstrual period, certain areas have reported “probable                 measure the relative number of pregnancies in a population
postfertilization age,” “clinician’s estimate of gestation based on             that end in abortion compared with live birth.
date of conception,” and “probable gestational age” to CDC.                       The U.S. Census Bureau estimates of the resident female
To ensure consistency between data reported as postfertilization                population were used as the denominator for calculating
age and the data collection practices for gestational age                       abortion rates (20–29). Overall abortion rates were calculated
recommended by CDC’s National Center for Health Statistics                      from the population of women aged 15–44 years living in
(15), 2 weeks were added to probable postfertilization age. This                the reporting areas that provided continuously reported data.
method was used to account for time after last menstrual period                 For adolescents aged <15 years, abortion rates were calculated
until ovulation in a standard 28-day cycle because fertilization                using the number of adolescents aged 13–14 years as the
occurs around the time of ovulation (16). No modifications                      denominator; for women aged ≥40 years, abortion rates were
were made to data reported as clinician’s estimate of gestational               calculated using the number of women aged 40–44 years as the
age based on date of conception or data reported as probable                    denominator. For the calculation of abortion ratios, live birth
gestational age.                                                                data were obtained from CDC natality files and included births
  In this report, medical and surgical abortions are further                    to women of all ages living in the reporting areas that provided
categorized by gestational age when available in the categories                 abortion data (30,31). For calculation of the total abortion rates
reported to CDC. Early medical abortion is defined as the                       and total ratios only, women with unknown data on selected
administration of medications (typically mifepristone followed                  characteristics (e.g., age, race or ethnicity, and marital status)
by misoprostol) to induce an abortion at ≤9 completed weeks’                    were distributed according to the distribution of abortions
gestation consistent with U.S. Food and Drug Administration                     among those with known information on the characteristic.
(FDA) labeling for mifepristone that was implemented in                         For calculation of totals only, abortions for women with an
2016 (17). CDC collects information only on the estimated                       unknown gestational age of pregnancy but known method
number of weeks (not days) of gestation and acknowledges                        type were distributed according to the distribution of abortions
the conventional use of completed weeks of gestation to                         among those with known information on method type by
describe pregnancy duration; therefore, CDC’s category                          gestational age to the following categories: surgical, ≤13 weeks’
of ≤9 weeks’ gestation includes abortions through 9 weeks                       gestation; surgical, >13 weeks’ gestation; medical, ≤9 weeks’
and 6 days. Medications (typically serial prostaglandins,                       gestation; and medical, >9 weeks’ gestation.
sometimes administered after mifepristone) also might be
used to induce an abortion at >9 weeks’ gestation. Surgical                             Data Presentation and Analysis
abortions, which include uterine aspiration (i.e., dilation and
curettage, aspiration curettage, suction curettage, manual                        This report provides aggregate and reporting area–specific
vacuum aspiration, menstrual extraction, or sharp curettage)                    abortion numbers, rates, and ratios for the 49 areas that
and dilation and evacuation procedures, are categorized as                      reported to CDC for 2020, which excluded California,
having been performed at ≤13 weeks’ gestation or at >13 weeks’                  Maryland, and New Hampshire. In addition, this report
gestation because of differences in surgical technique at these                 describes characteristics of women who obtained abortions in
gestational ages (18). Finally, because intrauterine instillations              2020. The data in this report are presented by the reporting
are unlikely to be performed early in gestation (19), abortions                 area in which the abortions were performed.
reported to have been performed by intrauterine instillation                      The completeness and quality of data received vary by year,
at ≤12 weeks’ gestation are excluded from calculation of                        by variable, and by reporting area; this report only describes
the percentage of abortions by known method type and are                        the characteristics of women obtaining abortions in reporting
grouped with unknown type.                                                      areas that met CDC reporting standards (i.e., reported at least
                                                                                20 abortions overall, provided data categorized in accordance
                                                                                with requested variables, and had <15% unknown values for a
                  Measures of Abortion                                          given characteristic). Cells with a numerical value in the range
  Four measures of abortion are presented in this report: 1) the                of 1–4 and cells that would allow for calculation of these values
number of abortions in a given population, 2) the percentage                    have been suppressed in this report to maintain confidentiality
of abortions by selected characteristics, 3) the abortion rate                  in tables presented by reporting area of occurrence.


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   The percentage change in abortion measures (number, rate,               national case-fatality rates for legal induced abortions (number
and ratio of reported abortions) from the most recent past                 of legal induced abortion-related deaths per 100,000 reported
year (2019 to 2020) and during the 10-year period of analysis              legal induced abortions in the United States) because eight
(2011–2020) were calculated for the 48 areas that reported                 reporting areas did not report abortion data every year during
every year during 2011–2020. The percentage change was also                this period (Alaska, 1998–2000; California, 1998–2019; the
calculated and reported for abortions by age group, weeks of               District of Columbia, 2016; Louisiana, 2005; Maryland,
gestation, and early medical abortions (≤9 completed weeks’                2007–2019; New Hampshire, 1998–2019; Oklahoma, 1998–
gestation) for areas that met reporting standards for these                1999; and West Virginia, 2003–2004). Thus, denominator
variables every year during 2011–2020. As a result, aggregate              data for calculation of national legal induced abortion case-
measures for 2020 in percentage change analyses might differ               fatality rates were obtained from a published report by the
from the point estimates reported for 2020. These data describe            Guttmacher Institute that includes estimated total numbers
the percentage changes in abortion measures over time and                  of abortions in the United States from a national survey of
abortions measures among groups for each characteristic. No                abortion-providing facilities (6,34). The case-fatality rate was
statistical testing was performed. Comparisons do not imply                calculated using denominator data for 2019. Because rates
statistical significance, and lack of comment regarding the                determined on the basis of a numerator <20 are unstable (35),
difference between values does not imply that no statistically             national case-fatality rates for legal induced abortion were
significant difference exists.                                             calculated for consecutive 5-year periods during 1973–2012
                                                                           and then for a consecutive 7-year period during 2013–2019.
                  Abortion Mortality
  CDC has reported data on abortion-related deaths
periodically since information on abortion mortality first was
                                                                                                        Results
included in the 1972 abortion surveillance report (7,32). An                        Total Abortions Reported to CDC
abortion-related death is defined as a death resulting from a
                                                                                             by Occurrence
direct complication of an abortion (legal or illegal), an indirect
complication caused by a chain of events initiated by an                      Among the 49 reporting areas that provided data for 2020, a
abortion, or an aggravation of a pre-existing condition by the             total of 620,327 abortions were reported. Of these abortions,
physiologic effects of abortion. An abortion is categorized as             615,911 (99.3%) were from 48 reporting areas that provided
legal when it is performed by a licensed clinician within the              data every year during 2011–2020. In 2020, these continuously
limits of state law.                                                       reporting areas had an abortion rate of 11.2 abortions per
  Since 1987, CDC has monitored abortion-related deaths                    1,000 women aged 15–44 years and an abortion ratio of
through PMSS, which includes data from all 50 states, the                  198 abortions per 1,000 live births (Table 1). From 2019 to
District of Columbia, and New York City (33). Sources of                   2020, the total number of reported abortions decreased 2%
data to identify abortion-related deaths have included state               (from 625,346 total abortions), the abortion rate decreased 2%
vital records; media reports, including computerized searches              (from 11.4 abortions per 1,000 women aged 15–44 years), and
of full-text newspaper and other print media databases; and                the abortion ratio increased 2% (from 195 abortions per 1,000
individual case reports by public health agencies, including               live births). From 2011 to 2020, the total number of reported
maternal mortality review committees, health care providers                abortions decreased 15% (from 727,554), the abortion rate
and provider organizations, private citizens, and citizen                  decreased 18% (from 13.7 abortions per 1,000 women aged
groups. For each death that is possibly related to abortion,               15–44 years), and the abortion ratio decreased 9% (from
CDC requests clinical records and autopsy reports. Two                     217 abortions per 1,000 live births) (Figure).
medical epidemiologists independently review these reports                    In 2020, there was a considerable range by reporting area of
to determine the cause of death and whether the death was                  occurrence in abortion rates (from 0.1 to 23.0 abortions per
abortion related. Discrepancies are discussed and resolved by              1,000 women aged 15–44 years in Missouri and the District
consensus. Each death is categorized by abortion type as legal             of Columbia) and abortion ratios (from two to 498 abortions
induced, illegal induced, spontaneous, or unknown type.                    per 1,000 live births in Missouri and the District of Columbia)
  This report provides PMSS data on induced abortion-related               (Table 2). The percentage of abortions obtained by out-of-area
deaths that occurred in 2019, the most recent year for which               residents also varied among reporting areas (from 0.5% in
PMSS data are available. For 1998–2019, abortion surveillance              Arizona to 70.7% in the District of Columbia).
data reported to CDC cannot be used alone to calculate


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FIGURE. Number, rate,* and ratio† of abortions performed, by year – selected reporting                           2020, abortion rates decreased among all age
areas,§ United States, 2011–2020
                                                                                                                 groups, although the decreases for adolescents
                                                                                                    Rate Ratio   (56% and 48% for adolescents aged <15 and
     1.0                                                                                              25 500
                                                                                                                 15–19 years, respectively) were greater than
                                                                                                                 the decreases for women aged ≥20 years.
     0.8                                                                                              20 400     From 2019 to 2020, abortion rates decreased
                                                                                                                 or did not change for all age groups. During
                                                                                                                 2011–2020, abortion ratios decreased for all
Number (millions)




     0.6                                                                                              15 300     age groups, except among adolescents aged
                                                                                                                 15–19 years and women aged 25–29 years for
                                                                                                                 whom abortion ratios increased. The decrease
     0.4                                                                                              10 200
                                                                                                                 in abortion ratio was highest among women
                                                                                                                 aged ≥40 years. From 2019 to 2020, abortion
                          Number                                                                                 ratios decreased for adolescents aged <15
     0.2                                                                                               5 100
                          Abortion rate
                                                                                                                 and women aged ≥35 years and increased for
                          Abortion ratio
                                                                                                                 women aged 15–34 years.
     0.0                                                                                               0     0      Among the 46 areas that reported age by
            2011 2012 2013 2014 2015 2016 2017 2018 2019 2020                                                    individual year among adolescents for 2020,
                                                     Year
                                                                                                                 adolescents aged 18–19 years accounted for
 * Number of abortions per 1,000 women aged 15–44 years.
 † Number of abortions per 1,000 live births.                                                                    highest percentage (71.1%) of adolescent
 § Data are for 48 reporting areas; excludes California, the District of Columbia, Maryland, and New Hampshire.  abortions and had the highest abortion rates
                                                                                                                 (8.3 and 11.9 abortions per 1,000 adolescents
               Age Group, Race or Ethnicity,                                                                     aged 18 and 19 years, respectively) (Table 5).
                                                                                                Adolescents aged <15 years accounted for the lowest percentage
                          and Marital Status                                                    of adolescent abortions (2.7%) and had the lowest abortion rate
   Among the 48 areas that reported abortion numbers by                                         (0.4 abortions per 1,000 adolescents aged 13–14 years). The
women’s age for 2020, women in their 20s accounted for more                                     abortion ratio for adolescents was highest among adolescents
than half of abortions (57.2%) (Table 3). Women aged 20–24                                      aged <15 years (828 abortions per 1,000 live births) and was
and 25–29 years accounted for the highest percentages of                                        lowest among adolescents aged 17–19 years (343, 371, and
abortions (27.9% and 29.3%, respectively) and had the highest                                   313 abortions per 1,000 live births among adolescents aged
abortion rates (19.2 and 19.0 abortions per 1,000 women aged                                    17, 18, and 19 years, respectively).
20–24 and 25–29 years, respectively). By contrast, adolescents                                     Among the 30 areas that reported race by ethnicity data for
aged <15 years and women aged ≥40 years accounted for the                                       2020, non-Hispanic White women (White) and non-Hispanic
lowest percentages of abortions (0.2% and 3.7%, respectively)                                   Black women (Black) accounted for the highest percentages of all
and had the lowest abortion rates (0.4 and 2.6 abortions per                                    abortions (32.7% and 39.2%, respectively), and Hispanic women
1,000 women aged <15 and ≥40 years, respectively). However,                                     and non-Hispanic women in the other race category accounted
abortion ratios were highest among adolescents (859 and                                         for lower percentages (21.1% and 7.0%, respectively) (Table 6).
363 abortions per 1,000 live births among those aged <15 years                                  White women had the lowest abortion rate (6.2 abortions per
and 15–19 years, respectively) and lowest among women aged                                      1,000 women aged 15–44 years) and ratio (118 abortions per
25–39 years (205, 136, and 144 abortions per 1,000 live births                                  1,000 live births), and Black women had the highest abortion
among those aged 25–29, 30–34, and 35–39 years, respectively).                                  rate (24.4 abortions per 1,000 women aged 15–44 years) and
   Among the 43 reporting areas that provided data each                                         ratio (426 abortions per 1,000 live births).
year by women’s age for 2011–2020, this pattern across age                                         Among the 40 areas that reported by marital status for 2020,
groups was stable, with the highest percentages of abortions                                    13.7% of women who obtained an abortion were married,
and the highest abortion rates occurring among women                                            and 86.3% were unmarried (Table 7). The abortion ratio was
aged 20–29 years and the lowest percentages of abortions                                        46 abortions per 1,000 live births for married women and
and lowest abortion rates occurring among adolescents aged                                      412 abortions per 1,000 live births for unmarried women.
<15 years and women aged ≥40 years (Table 4). From 2011 to




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            Previous Live Births and                                      accounted for 32.1% of abortions at ≤6 weeks’ gestation,
          Previous Induced Abortions                                      41.2% of abortions at 7–9 weeks’ gestation, 84.3% of abortions
                                                                          at 10–13 weeks’ gestation, 96.2%–98.8% of abortions at
   Among the 43 areas that reported the number of previous                14–20 weeks’ gestation, and 86.3% of abortions at ≥21 weeks’
live births for 2020, 39.1%, 24.5%, 20.3%, 9.7%, and 6.4%                 gestation. In contrast, medical abortion accounted for 67.9%
of abortions reported were among women who had zero, one,                 of abortions at ≤6 weeks’ gestation, 58.7% of abortions at
two, three, or four or more previous live births, respectively            7–9 weeks’ gestation, 15.7% of abortions at 10–13 weeks’
(Table 8). Among the 42 areas that reported the number of                 gestation, 1.2%–2.9% of abortions at 14–20 weeks’ gestation,
previous induced abortions for 2020, 57.7%, 24.1%, 10.5%,                 and 11.8% of abortions at ≥21 weeks’ gestation. For each
and 7.8% of abortions reported were among women who                       gestational age category as applicable, abortions performed
had had zero, one, two, or three or more previous induced                 by intrauterine instillation or hysterectomy/hysterotomy were
abortions, respectively (Table 9).                                        rare (<0.1%–1.7% of abortions).

    Weeks of Gestation and Method Type                                             Weeks of Gestation by Age Group
   Among the 41 areas that reported gestational age at the time                         and Race or Ethnicity
of abortion for 2020, 80.9% of abortions were performed at
                                                                            In reporting areas that provided data that met CDC
≤9 weeks’ gestation, and nearly all (93.1%) were performed
                                                                          reporting standards, abortions that were categorized by weeks
at ≤13 weeks’ gestation (Table 10). Fewer abortions were
                                                                          of gestation were further categorized by age and by race or
performed at 14–20 weeks’ gestation (5.8%) or at ≥21 weeks’
                                                                          ethnicity (Table 14). In every subgroup for these characteristics,
gestation (0.9%). Among the 33 reporting areas that provided
                                                                          the highest percentage of abortions occurred at ≤9 weeks’
data every year on gestational age for 2011–2020, the
                                                                          gestation. In 41 reporting areas, by age, 61.0% of adolescents
percentage of abortions performed at ≤13 weeks’ gestation
                                                                          aged <15 years and 75.5% of adolescents aged 15–19 years
changed from 91.3% to 92.5% (Table 11). However, within
                                                                          obtained an abortion at ≤9 weeks’ gestation, compared with
this gestational age range, a shift occurred toward earlier
                                                                          ≥80.6% among women aged ≥20 years. Conversely, 18.7%
gestational ages, with the percentage of abortions performed
                                                                          of adolescents aged <15 years and 9.1% of adolescents aged
at ≤6 weeks’ gestation increasing 17% and the percentage of
                                                                          15–19 years obtained an abortion after 13 weeks’ gestation,
abortions performed at 7–9 weeks’ and 10–13 weeks’ gestation
                                                                          compared with 6.3%–7.2% for women aged ≥20 years. In
decreasing 2% and 21%, respectively.
                                                                          28 reporting areas, by race or ethnicity, 80.1% of abortions
   Among the 46 areas that reported by method type for
                                                                          obtained by Black women occurred at ≤9 weeks’ gestation,
2020 and included medical abortion on their reporting form,
                                                                          compared with 81.5% of non-Hispanic women in the other
51.0% were early medical abortions (a nonsurgical abortion
                                                                          race category, 82.0% of White women, and 83.9% of Hispanic
at ≤9 weeks’ gestation), 40.0% of abortions were surgical
                                                                          women. Conversely, 5.4% of abortions obtained by Hispanic
abortions at ≤13 weeks’ gestation, 6.7% were surgical abortions
                                                                          women occurred after 13 weeks’ gestation, followed by 6.2%
at >13 weeks’ gestation, and 2.4% were medical abortions at
                                                                          of White women, 6.3% of Black women, and 6.9% of non-
>9 weeks’ gestation; other methods, including intrauterine
                                                                          Hispanic women in the other race category.
instillation and hysterectomy/hysterotomy, were rare (<0.1%)
(Table 12). During 2011−2020, a total of 37 reporting areas
(excludes Alabama, California, the District of Columbia,                                      Abortion Mortality
Florida, Hawaii, Illinois, Louisiana, Maine, Maryland, New                  Using national PMSS data (33), CDC identified four
Hampshire, New Mexico, Tennessee, Vermont, Wisconsin, and                 abortion-related deaths for 2019, the most recent year
Wyoming) provided continuous data and included medical                    for which data were reviewed for abortion-related deaths
abortion on their reporting form. Among these 37 areas, use               (Table 15). Investigation of these cases indicated all deaths
of early medical abortion increased 22% from 2019 to 2020                 were related to legal abortion.
(from 41.1% to 50.0% of abortions) and 154% from 2011                       The annual number of deaths related to legal induced
to 2020 (from 19.7% to 50.0% of abortions).                               abortion has fluctuated from year to year since 1973 (Table 15).
   Among the 40 areas that reported abortions categorized                 The national case-fatality rate for legal induced abortion for
by individual weeks of gestation and method type for 2020,                2013–2019 was 0.43 deaths related to legal induced abortions
surgical abortion accounted for the highest percentage of                 per 100,000 reported legal abortions. This case-fatality rate was
abortions at >10 weeks’ gestation (Table 13). Surgical abortion           lower than the rates for the previous 5-year periods.



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                          Discussion                                            births in the United States have been accompanied by large
                                                                                decreases in adolescent abortions (31).
  For 2020, a total of 620,327 abortions were reported to CDC                      As in previous years, abortion rates and ratios differ across
by 49 areas. Among the 48 continuously reporting areas, for                     racial or ethnic groups. For example, in 2020, compared
2020, the abortion rate was 11.2 abortions per 1,000 women                      with White women, abortion rates and ratios were 3.9 and
aged 15–44 years, and the abortion ratio was 198 abortions per                  3.6 times higher among Black women and 1.8 and 1.5 times
1,000 live births. From 2019 to 2020, the number of abortions                   higher among Hispanic women. Similar differences by race or
decreased 2%, the abortion rate decreased 2%, and the abortion                  ethnicity have been demonstrated in other U.S.-based studies
ratio increased 2%. Although the rate of reported abortions                     (2,8–11,63). The factors leading to higher abortion rates
declined overall from 2011 to 2020, after reaching a historic                   among certain racial or ethnic minority groups are complex.
low in 2017, the overall abortion rate increased between 2018                   In addition to disparities in rates of unintended pregnancies,
and 2019, before declining again in 2020.                                       structural factors, including unequal access to quality family
  Using data from their national survey of abortion-providing                   planning services (64,65), economic inequities, and mistrust of
facilities, the Guttmacher Institute estimated that approximately               the medical system (66), can contribute to observed differences.
21% of all pregnancies in the United States ended in induced                       In 2020, approximately four out of five abortions occurred
abortion in 2020 (34). Multiple factors influence the incidence                 early in gestation (≤9 weeks), when the risks for complications
of abortion, including access to health care services and                       are lowest (67–70). Over the past 10 years, this percentage
contraception (36–38); the availability of abortion providers                   increased from 74.3% in 2011 to 79.1% in 2020. Moreover,
and clinics (6,39,40); state regulations, such as mandatory                     among areas that reported abortions at ≤13 weeks’ gestation
waiting periods (41–43), parental involvement laws (44,45),                     by individual week, the distribution of abortions by gestational
and legal restrictions on abortion providers and clinics (46–52);               age continued to shift toward earlier weeks of gestation, with
and changes in the economy and the resulting impact on family                   the percentage of early abortions performed at ≤6 weeks’
planning decisions and contraceptive use (53).                                  gestation increasing from 34.2% in 2011 to 39.9% in 2020.
  Abortion measures in 2020 might have been affected by the                     Previous research indicates that the distribution of abortions
COVID-19 pandemic. Factors include temporary changes                            by gestational age differs by various sociodemographic
that defined abortion as a nonessential service at the hospital,                characteristics (71–73). In this report, the percentage of
local, or jurisdiction level (54,55), clinic closures, and changes              adolescents aged ≤19 years who obtained abortions at
in practice (e.g., shift from surgical abortions to medical                     >13 weeks’ gestation was higher than the percentage among
abortions, implementation, and uptake of telehealth) (56–60).                   women aged ≥20 years. The gestational age when abortions
In addition, there might have been changes in pregnancy rates                   are performed can be influenced by multiple factors, including
because of reduced sexual activity (61,62).                                     jurisdiction abortion restrictions, accurate estimation of
  Abortion measures also differ by demographic characteristics.                 gestational age, income level, age, and presence of pregnancy-
Among areas that reported data continuously by age during                       related health conditions (41,63,70,72–77).
2011–2020, women in their 20s accounted for the highest                            Changes in clinical practices have facilitated the trend of
percentages of abortions and had the highest abortion rates,                    obtaining abortions earlier in pregnancy. Research conducted
whereas adolescents aged <15 years accounted for the lowest                     in the United States during the 1970s indicated that surgical
percentage of abortions and had the lowest abortion rate, and                   abortion procedures performed at ≤6 weeks’ gestation,
adolescents aged <15 years and 15–19 years had the highest                      compared with 7–12 weeks’ gestation, were less likely to
abortion ratios. During 2011–2020, women aged ≥40 years                         result in successful termination of the pregnancy (78).
accounted for a relatively small percentage of reported                         However, subsequent advances in technology (e.g., improved
abortions (≤3.8%). However, the abortion ratio among women                      transvaginal ultrasonography and sensitivity of pregnancy tests)
aged ≥40 years continues to be higher than among women                          have allowed very early surgical abortions to be performed
aged 25–39 years.                                                               with completion rates exceeding 97% (79–82). Likewise, the
  The percentage change in adolescent abortions described in                    development of early medical abortion regimens has allowed for
this report are important for monitoring changes in adolescent                  abortions to be performed early in gestation, with completion
pregnancies in the United States. From 2011 to 2020, national                   rates for regimens that combine mifepristone and misoprostol
birth data indicate that the birth rate for adolescents aged                    reaching 96%–98% (82–85).
15–19 years decreased 51% (31), and the data in this report                        Trends for early medical abortions are reported to monitor
indicate that the abortion rate for the same age group decreased                any changes in clinical practice that might have occurred with
48%. These findings highlight that decreases in adolescent                      the accumulation of evidence on the safety and effectiveness


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of medical abortion past 63 days of gestation (8 completed                 report for every abortion they perform, enforcement of this
weeks’ gestation) (86), changes in professional practice                   requirement varies.
guidelines published in 2013 and 2014 (87,88), and the                        Second, many states use abortion reporting forms that
2016 FDA extension of the gestational age limit for the use                differ from the technical guidance that CDC developed in
of mifepristone for early medical abortion from 63 days to                 collaboration with NAPHSIS. Consequently, certain reporting
70 days (9 completed weeks’ gestation) (89). Among abortions               areas do not collect all variables requested by CDC (e.g., age
occurring at ≤9 weeks’ gestation in 2020, 63.9% of abortions               and race or ethnicity) or do not report the data in a manner
were reported as early medical abortions. In 2020, the most                consistent with this guidance (e.g., gestational age). Missing
common method among abortions reported overall was early                   demographic information can reduce the extent to which
medical abortion at ≤9 weeks’ gestation (51.0%). Among areas               the statistics in this report represent women who have had
that reported by method type and included medical abortion                 abortions. Only 30 reporting areas reported race or ethnicity
on their reporting form, the percentage of all abortions                   data to CDC that met CDC’s reporting standards. Certain
performed by early medical abortion increased 154% from                    areas that either do not report to CDC (e.g., California) or do
2011 to 2020 and increased 22% from 2019 to 2020.                          not report race or ethnicity data (e.g., Illinois) have sufficiently
   Because the annual number of deaths related to legal                    large populations of racial or ethnic minority groups that
induced abortion is small and statistically unstable, case-fatality        the absence of data from these areas likely reduces the
rates were calculated for consecutive 5-year periods during                representativeness of CDC data for these variables. In addition,
1973–2012 and then for a consecutive 7-year period during                  because of the variability in data collection for race or ethnicity
2013–2019. The national case-fatality rate for legal induced               among reporting areas, data for specific racial or ethnic groups
abortion was 0.43 per 100,000 abortions. Since the late 1970s,             beyond White, Black, and Hispanic are not requested or
all rates for the preceding 5-year periods have been fewer than            reported. In addition, certain areas collect gestational age data
1 death per 100,000 abortions, demonstrating the low risk for              that are based on estimated date of conception or probable
death associated with legal induced abortion.                              postfertilization age, which are not consistent with medical
                                                                           conventions for gestational age reporting. Without medical
                                                                           guidance on how to report these data, the validity and reliability
                       Limitations                                         of gestational age for these reporting areas is uncertain.
  The findings in this report are subject to at least four                    Third, abortion data are compiled and reported to CDC
limitations. First, because reporting to CDC is voluntary                  by the central health agency of the reporting area in which
and reporting requirements vary by the individual reporting                the abortion was performed rather than the reporting area
areas (13,14), CDC is unable to report the total number of                 in which the person lived. Thus, the available population
abortions performed in the United States. Of the 52 areas from             (20–29) and birth data (30,31), which are organized by the
which CDC requested data for 2020, California, Maryland,                   states/jurisdictions in which women live, might differ from
and New Hampshire did not submit abortion data. In 2020,                   the population of women who undergo abortions in a given
the most recent year for which data are available through the              reporting area. This likely results in an overestimation of
Guttmacher Institute’s national survey of abortion-providing               abortions for reporting areas in which a higher percentage
facilities, abortions performed in these states accounted for              of abortions are obtained by out-of-area residents and an
approximately 20% of all abortions in the United States (34).              underestimation of abortions for reporting areas where
CDC receives aggregated data from the central health agencies              residents more frequently obtain abortions out of area. Limited
of reporting areas, which might result in different estimates              abortion services, stringent regulatory requirements for
than reported by the Guttmacher Institute. New Jersey did not              obtaining an abortion, or geographic proximity to services in
have abortion reporting requirements to a centralized health               another state might influence where women obtain abortion
agency during the period covered in this report (13), which                services (90,91).
potentially affects the representativeness of data provided to                Finally, CDC reporting of sociodemographic characteristics
CDC. Certain reporting areas (the District of Columbia and                 of women obtaining abortions is limited to data collected on
Wyoming) have recently implemented new legislation that                    jurisdiction reporting forms. Therefore, the examination of
could improve reporting of abortion data. Nonetheless, even                additional demographic variables (e.g., income and education)
in reporting areas that legally require clinicians to submit a             is not possible.




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                                        TABLE 1. Number, percentage, rate,* and ratio † of reported
                                        abortions — selected reporting areas, United States, 2011–2020
                                                  Selected reporting areas§        Continuously reporting areas¶
                                        Year                  No.                    No. (%)**        Rate      Ratio
                                        2011                 730,322              727,554 (99.6)      13.7       217
                                        2012                 699,202              696,587 (99.6)      13.1       208
                                        2013                 664,435              661,874 (99.6)      12.4       198
                                        2014                 652,639              649,849 (99.6)      12.1       192
                                        2015                 638,169              636,902 (99.8)      11.8       188
                                        2016                 623,471             623,471 (100.0)      11.6       186
                                        2017                 612,719              609,095 (99.4)      11.2       185
                                        2018                 619,591              614,820 (99.2)      11.3       189
                                        2019                 629,898              625,346 (99.3)      11.4       195
                                        2020                 620,327              615,911 (99.3)      11.2       198
                                         * Number of abortions per 1,000 women aged 15–44 years.
                                         † Number of abortions per 1,000 live births.
                                         § For each given year, excludes reporting areas that did not report that year’s
                                           abortion numbers to CDC: California (2011–2020), the District of Columbia
                                           (2016), Maryland (2011–2020), and New Hampshire (2011–2020).
                                         ¶ For all years, excludes reporting areas that did not report abortion numbers
                                           every year during the analysis period: California, the District of Columbia,
                                           Maryland, and New Hampshire.
                                        ** Abortions from areas that reported every year during the analysis period as
                                           a percentage of all reported abortions for a given year.




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TABLE 2. Number, rate,* and ratio† of reported abortions, by reporting area of occurrence and number of abortions obtained by out-of-area
residents§ — United States, 2020¶
                                                                                                                                 Abortions obtained by
                                                       Abortions reported by area of occurrence**                                 out-of-area residents
Area                                       No.                            Rate                            Ratio                          No. (%)
Alabama                                 5,713                              6.0                              99                           875 (15.3)
Alaska                                  1,206                              8.4                             127                              8 (0.7)
Arizona                                13,273                              9.3                             172                             72 (0.5)
Arkansas                                3,154                              5.4                              89                           390 (12.4)
Colorado                                9,869                              8.3                             160                         1,283 (13.0)
Connecticut                             9,115                             13.6                             272                            456 (5.0)
Delaware                                2,281                             12.5                             219                           272 (11.9)
District of Columbia                    4,416                             23.0                             498                         3,123 (70.7)
Florida                                74,868                             19.1                             357                          3,988 (5.3)
Georgia                                37,533                             17.1                             306                         6,411 (17.1)
Hawaii                                  1,809                              7.0                             115                             32 (1.8)
Idaho                                   1,680                              4.8                              78                            102 (6.1)
Illinois                               46,243                             18.7                             347                         9,686 (20.9)
Indiana                                 7,756                              5.9                              99                            384 (5.0)
Iowa                                    4,058                              6.8                             112                           679 (16.7)
Kansas                                  7,526                             13.4                             219                         3,901 (51.8)
Kentucky                                4,104                              4.8                              79                           617 (15.0)
Louisiana                               7,473                              8.1                             130                         1,240 (16.6)
Maine                                   2,064                              8.8                             179                            115 (5.6)
Massachusetts                          16,452                             11.8                             248                            593 (3.6)
Michigan                               29,669                             15.8                             285                          1,620 (5.5)
Minnesota                              10,349                              9.5                             163                            971 (9.4)
Mississippi                             3,559                              6.1                             100                           360 (10.1)
Missouri                                  167                              0.1                               2                            33 (19.8)
Montana                                 1,675                              8.4                             155                           177 (10.6)
Nebraska                                2,378                              6.3                              98                           374 (15.7)
Nevada                                  8,633                             14.1                             257                            471 (5.5)
New Jersey††                           22,972                             13.7                             235                          1,593 (6.9)
New Mexico                              4,293                             10.7                             196                         1,301 (30.3)
New York                               63,142                             16.5                             302                          3,670 (5.8)§§
  New York City                        37,523                             20.9                             388                          3,195 (8.5)
  New York State                       25,619                             12.6                             227                          2,469 (9.6)
North Carolina                         30,004                             14.4                             257                         5,117 (17.1)
North Dakota                            1,174                              7.9                             117                           338 (28.8)
Ohio                                   20,605                              9.3                             159                          1,167 (5.7)
Oklahoma                                3,797                              4.9                              80                           598 (15.7)
Oregon                                  6,991                              8.4                             176                            672 (9.6)
Pennsylvania                           32,123                             13.5                             246                          2,144 (6.7)
Rhode Island                            2,611                             12.6                             258                           424 (16.2)
South Carolina                          5,468                              5.5                              98                            278 (5.1)
South Dakota                              125                              0.8                              11                            19 (15.2)
Tennessee                              11,243                              8.4                             143                                  —¶¶
Texas                                  55,132                              9.0                             150                          1,183 (2.1)
Utah                                    2,362                              3.3                              52                            118 (5.0)
Vermont                                 1,227                             10.7                             239                           213 (17.4)
Virginia                               15,604                              9.2                             165                          1,067 (6.8)
Washington                             16,909                             11.0                             204                            852 (5.0)
West Virginia                           1,001                              3.2                              58                           152 (15.2)
Wisconsin                               6,430                              5.9                             106                             94 (1.5)
Wyoming                                    91                              0.8                              15                            22 (24.2)
Total                                 620,327                             N/A                              N/A                                 N/A
Abbreviation: N/A = not applicable.
 * Number of abortions per 1,000 women aged 15–44 years.
 † Number of abortions per 1,000 live births.
 § Additional details on the reporting area in which abortions were provided, cross-tabulated by the area of residence, are available at https://www.cdc.gov/
   reproductivehealth/data_stats/Abortion.htm.
 ¶ Data from 49 reporting areas; excludes three reporting areas (California, Maryland, and New Hampshire) that did not report.
** The total abortions include those with known and unknown residence status.
†† Reporting to the central health agency is not required. Data are requested from hospitals and licensed ambulatory care facilities only.
§§ Residents of New York State who had abortions in New York City and residents of New York City who had abortions in New York State were excluded from the
   number and percentage of abortions obtained by out-of-area residents in New York.
¶¶ Tennessee did not report data by residence; therefore, the percentage of abortions obtained in Tennessee by out-of-area residents cannot be calculated.




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TABLE 3. Number of reported abortions, by known age group and reporting area of occurrence — selected reporting areas,* United States, 2020
                                                                                      Age group (yrs)                                                                  Total abortions reported
                                <15                15–19               20–24               25–29               30–34               35–39                ≥40                  by known age
                                                                                                                                                                             No. (% of all
Area                          No. (%)†             No. (%)             No. (%)             No. (%)             No. (%)             No. (%)             No. (%)           reported abortions)§
Alabama                          21 (0.4)           483 (8.5)        1,746 (30.6)        1,768 (31.0)        1,019 (17.9)           533 (9.3)           137 (2.4)             5,707 (99.9)
Alaska                            7 (0.6)         121 (10.0)           361 (29.9)          319 (26.5)          238 (19.7)          121 (10.0)            39 (3.2)            1,206 (100.0)
Arizona                          24 (0.2)         1,202 (9.1)        4,033 (30.4)        3,656 (27.5)        2,519 (19.0)        1,371 (10.3)           468 (3.5)           13,273 (100.0)
Arkansas                         11 (0.3)           293 (9.3)          965 (30.6)          961 (30.5)          556 (17.7)           279 (8.9)            84 (2.7)             3,149 (99.8)
Colorado                         28 (0.3)           929 (9.4)        2,897 (29.4)        2,812 (28.5)        1,890 (19.2)           953 (9.7)           357 (3.6)            9,866 (100.0)
Connecticut                      15 (0.2)           770 (8.5)        2,575 (28.3)        2,556 (28.1)        1,849 (20.3)        1,017 (11.2)           325 (3.6)             9,107 (99.9)
Delaware                          8 (0.4)           221 (9.7)          656 (28.8)          646 (28.3)          424 (18.6)          248 (10.9)            78 (3.4)            2,281 (100.0)
District of Columbia             11 (0.2)           407 (9.2)        1,273 (28.8)        1,366 (31.0)          819 (18.6)           407 (9.2)           130 (2.9)             4,413 (99.9)
Florida                         124 (0.2)         5,157 (6.9)       20,017 (26.8)       21,866 (29.3)       15,876 (21.2)        8,613 (11.5)         3,087 (4.1)            74,740 (99.8)
Georgia                          66 (0.2)         2,666 (7.1)       10,444 (27.8)       11,572 (30.8)        7,674 (20.4)        3,814 (10.2)         1,297 (3.5)           37,533 (100.0)
Hawaii                                —¶            157 (8.7)          501 (27.7)          499 (27.6)          334 (18.5)          218 (12.1)                 —¶             1,809 (100.0)
Idaho                             9 (0.5)         195 (11.6)           546 (32.5)          423 (25.2)          279 (16.6)          174 (10.4)            54 (3.2)            1,680 (100.0)
Illinois                         88 (0.2)         3,775 (8.2)       13,022 (28.3)       14,343 (31.2)        8,809 (19.1)         4,554 (9.9)         1,438 (3.1)            46,029 (99.5)
Indiana                          16 (0.2)           699 (9.0)        2,367 (30.5)        2,232 (28.8)        1,417 (18.3)           771 (9.9)           254 (3.3)            7,756 (100.0)
Iowa                             14 (0.3)         409 (10.1)         1,177 (29.0)        1,133 (27.9)          732 (18.0)          458 (11.3)           135 (3.3)            4,058 (100.0)
Kansas                           20 (0.3)           694 (9.2)        2,355 (31.3)        2,154 (28.6)        1,288 (17.1)          761 (10.1)           254 (3.4)            7,526 (100.0)
Kentucky                         13 (0.3)           353 (8.6)        1,192 (29.0)        1,229 (29.9)          779 (19.0)           399 (9.7)           139 (3.4)            4,104 (100.0)
Louisiana                        22 (0.3)           634 (8.5)        2,098 (28.1)        2,257 (30.2)        1,446 (19.4)          762 (10.2)           253 (3.4)            7,472 (100.0)
Maine                             7 (0.3)           164 (8.0)          553 (26.8)          584 (28.3)          419 (20.3)          267 (13.0)            67 (3.3)             2,061 (99.9)
Massachusetts                    19 (0.1)         1,118 (6.8)        4,216 (25.7)        4,430 (27.0)        3,643 (22.2)        2,192 (13.4)           761 (4.6)            16,379 (99.6)
Michigan                         74 (0.3)         2,360 (8.0)        8,492 (28.8)        9,275 (31.4)        5,810 (19.7)         2,625 (8.9)           881 (3.0)            29,517 (99.5)
Minnesota                        28 (0.3)           857 (8.3)        2,766 (26.8)        2,938 (28.4)        2,142 (20.7)        1,186 (11.5)           419 (4.1)            10,336 (99.9)
Mississippi                      12 (0.3)           296 (8.3)        1,077 (30.3)        1,145 (32.2)          636 (17.9)           315 (8.9)            78 (2.2)            3,559 (100.0)
Missouri                              —¶              8 (4.8)           36 (21.6)           40 (24.0)           39 (23.4)           35 (21.0)                 —¶               167 (100.0)
Montana                           6 (0.4)         200 (11.9)           460 (27.5)          445 (26.6)          304 (18.1)          191 (11.4)            69 (4.1)            1,675 (100.0)
Nebraska                          9 (0.4)         245 (10.3)           711 (29.9)          671 (28.2)          423 (17.8)           217 (9.1)           102 (4.3)            2,378 (100.0)
Nevada                           22 (0.3)           795 (9.5)        2,243 (26.8)        2,308 (27.6)        1,709 (20.4)          955 (11.4)           331 (4.0)             8,363 (96.9)
New Jersey**                     42 (0.2)         1,983 (8.6)        5,929 (25.8)        6,625 (28.8)        4,721 (20.6)        2,634 (11.5)         1,033 (4.5)           22,967 (100.0)
New Mexico                       23 (0.6)         491 (11.9)         1,296 (31.5)        1,060 (25.8)          707 (17.2)          411 (10.0)           123 (3.0)             4,111 (95.8)
New York                        126 (0.2)         5,338 (8.5)       16,336 (25.9)       17,895 (28.4)       13,126 (20.8)        7,396 (11.7)         2,745 (4.4)            62,962 (99.7)
  New York City                  58 (0.2)         2,931 (7.8)        9,339 (24.9)       10,729 (28.6)        8,114 (21.6)        4,562 (12.2)         1,790 (4.8)           37,523 (100.0)
  New York State                 68 (0.3)         2,407 (9.5)        6,997 (27.5)        7,166 (28.2)        5,012 (19.7)        2,834 (11.1)           955 (3.8)            25,439 (99.3)
North Carolina                   56 (0.2)         2,201 (7.6)        8,204 (28.3)        8,818 (30.4)        5,832 (20.1)        2,950 (10.2)           906 (3.1)            28,967 (96.5)
North Dakota                          —¶            109 (9.3)          352 (30.0)          336 (28.6)          225 (19.2)           109 (9.3)                 —¶             1,174 (100.0)
Ohio                             52 (0.3)         1,702 (8.3)        5,915 (28.7)        6,285 (30.5)        3,945 (19.1)         1,993 (9.7)           713 (3.5)           20,605 (100.0)
Oklahoma                         21 (0.6)           373 (9.8)        1,208 (31.9)        1,061 (28.0)          687 (18.1)           318 (8.4)           121 (3.2)             3,789 (99.8)
Oregon                           20 (0.3)           653 (9.3)        2,089 (29.9)        1,819 (26.0)        1,303 (18.6)          775 (11.1)           332 (4.7)            6,991 (100.0)
Pennsylvania                    102 (0.3)         2,437 (7.6)        8,627 (26.9)        9,841 (30.6)        6,682 (20.8)        3,344 (10.4)         1,090 (3.4)           32,123 (100.0)
Rhode Island                          —¶            203 (7.8)          770 (29.5)          755 (28.9)          519 (19.9)          265 (10.2)                 —¶             2,610 (100.0)
South Carolina                   14 (0.3)           495 (9.1)        1,556 (28.5)        1,590 (29.1)        1,050 (19.2)          581 (10.6)           182 (3.3)            5,468 (100.0)
South Dakota                          —¶              9 (7.2)           38 (30.4)           37 (29.6)           28 (22.4)             9 (7.2)                 —¶               125 (100.0)
Texas                           107 (0.2)         4,611 (8.4)       16,276 (29.5)       15,793 (28.6)       10,486 (19.0)        5,900 (10.7)         1,959 (3.6)           55,132 (100.0)
Utah                              6 (0.3)         276 (11.7)           760 (32.2)          583 (24.7)          402 (17.1)           234 (9.9)            96 (4.1)             2,357 (99.8)
Vermont                           6 (0.5)            94 (7.7)          330 (26.9)          329 (26.8)          255 (20.8)          157 (12.8)            56 (4.6)            1,227 (100.0)
Virginia                         21 (0.1)         1,065 (6.8)        4,130 (26.5)        4,576 (29.3)        3,271 (21.0)        1,904 (12.2)           631 (4.0)           15,598 (100.0)
Washington                       36 (0.2)         1,597 (9.5)        4,698 (27.8)        4,473 (26.5)        3,347 (19.8)        2,032 (12.0)           698 (4.1)            16,881 (99.8)
West Virginia                         —¶             90 (9.0)          306 (30.6)          317 (31.7)          170 (17.0)            85 (8.5)                 —¶             1,001 (100.0)
Wisconsin                        14 (0.2)           627 (9.8)        1,908 (29.7)        1,864 (29.0)        1,196 (18.6)           617 (9.6)           204 (3.2)            6,430 (100.0)
Wyoming                           0 (—)               7 (7.7)           22 (24.2)           24 (26.4)           21 (23.1)           10 (11.0)             7 (7.7)               91 (100.0)
Total                         1,333 (0.2)        49,569 (8.2)     169,529 (27.9)      177,709 (29.3)      121,046 (19.9)       65,160 (10.7)         22,407 (3.7)           606,753 (99.6)††
Abortion rate§§                        0.4                5.8                19.2                19.0                13.0                 7.2                  2.6                      N/A
Abortion ratio¶¶                      859                363                 296                 205                 136                 144                  219                       N/A
Abbreviation: N/A = not applicable.
 * Data from 48 reporting areas; excludes four reporting areas (California, Maryland, New Hampshire, and Tennessee) that did not report, did not report by age, or did not meet reporting standards.
 † Percentages for the individual component categories might not add to 100% because of rounding.
 § Percentage is calculated as the number of abortions reported by known age divided by the sum of abortions reported by known and unknown age. Values ≥99.95% are rounded to 100.0%.
 ¶ Cells with a numerical value in the range of 1–4 and cells that would allow for calculation of these small values have been suppressed.
** Reporting to the central health agency is not required. Data are requested from hospitals and licensed ambulatory care facilities only.
†† Percentage based on a total of 609,084 abortions reported among the areas that met reporting standards for age.
§§ Number of abortions obtained by women in a given age group per 1,000 women in that same age group. Adolescents aged 13–14 years were used as the denominator for the group of
   adolescents aged <15 years, and women aged 40–44 years were used as the denominator for the group of women aged ≥40 years. For the total abortion rate only, abortions for women
   of unknown age were distributed according to the distribution of abortions among women of known age.
¶¶ Number of abortions obtained by women in a given age group per 1,000 live births to women in that same age group. For the total abortion ratio only, abortions for women of unknown
   age were distributed according to the distribution of abortions among women of known age.




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TABLE 4. Percentage, rate,* and ratio† of reported abortions, by known age group and year — selected reporting areas,§ United States,
2011–2020
                                                                            Year                                                                   % Change
Age group                                                                                                                                      2019 to 2011 to
(yrs)           2011         2012         2013         2014         2015           2016       2017         2018         2019         2020       2020    2020
Reported abortions by known age (%)
<15                0.4       0.4         0.3             0.3          0.3           0.3         0.2          0.2          0.2          0.2        0.0    −50.0
15–19            13.5      12.2        11.4             10.4          9.8           9.4         9.1          8.8          8.7          8.3       −4.6    −38.5
20–24            32.9      32.7        32.7             32.1         31.1          30.0        29.3         28.5         27.8         28.1        1.1    −14.6
25–29            24.9      25.3        25.9             26.7         27.6          28.5        29.0         29.3         29.3         29.3        0.0     17.7
30–34            15.8      16.4        16.9             17.2         17.7          18.0        18.3         18.8         19.4         19.8        2.1     25.3
35–39              8.9       9.1         9.2             9.7         10.0          10.3        10.5         10.7         10.9         10.6       −2.8     19.1
≥40                3.6       3.8         3.6             3.6          3.6           3.6         3.6          3.6          3.7          3.6       −2.7      0.0
Abortion rate
<15                0.9       0.8         0.6             0.5          0.5           0.4         0.4          0.4          0.4          0.4        0.0    −55.6
15–19            10.5        9.2         8.2             7.3          6.7           6.3         5.9          5.8          5.9          5.5       −6.8    −47.6
20–24            25.0      23.3        21.9             21.0         20.0          19.1        18.4         18.3         18.2         18.2        0.0    −27.2
25–29            19.5      18.9        18.2             18.2         18.0          17.8        17.4         17.7         17.9         17.9        0.0     −8.2
30–34            12.7      12.4        11.9             11.7         11.8          11.7        11.5         11.9         12.4         12.2       −1.6     −3.9
35–39              7.5       7.4         7.0             7.1          7.0           6.9         6.8          6.9          7.0          6.8       −2.9     −9.3
≥40                2.8       2.8         2.6             2.6          2.5           2.5         2.5          2.5          2.6          2.5       −3.8    −10.7
Abortion ratio
<15               846       801         791             744          706          743          799          878          875          816        −6.7     −3.5
15–19             328       306         302             294          293          299          306          323          338          346         2.4      5.5
20–24             286       273         264             258          253          252          252          259          264          278         5.3     −2.8
25–29             178       174         169             167          168          170          172          179          185          191         3.2      7.3
30–34             132       128         121             116          116          113          115          119          125          127         1.6     −3.8
35–39             164       157         147             144          140          136          134          135          138          135        −2.2    −17.7
≥40               274       269         244             240          228          219          211          207          214          206        −3.7    −24.8
Total no.¶,** 624,711   595,784     565,418         553,940      542,330      531,735      517,522      522,703      529,942      524,221        N/A      N/A
Abbreviation: N/A = not applicable.
 * Number of abortions obtained by women in a given age group per 1,000 women in that same age group. Adolescents aged 13–14 years were used as the denominator
   for the group of adolescents aged <15 years, and women aged 40–44 years were used as the denominator for the group of women aged ≥40 years. Abortions for
   women of unknown age were distributed according to the distribution of abortions among women of known age.
 † Number of abortions obtained by women in a given age group per 1,000 live births to women in that same age group. Abortions for women of unknown age were
   distributed according to the distribution of abortions among women of known age.
 § Data from 43 reporting areas; excludes nine reporting areas (California, the District of Columbia, Florida, Maine, Maryland, New Hampshire, Tennessee, Vermont,
   and Wyoming) that did not report, did not report by age, or did not meet reporting standards for ≥1 year.
 ¶ By year, the total number of abortions represent 99.5%–99.7% of all abortions reported to CDC among the areas that met reporting standards for age during
   2011–2020; reporting standards for age were applied to abortions for residents of Illinois only during 2011−2019.
** The total number is different than previously reported because the total by known age is presented, and data for out-of-area residents were subsequently added
   for Wisconsin.




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TABLE 5. Number of reported abortions among adolescents, by known age and reporting area of occurrence — selected reporting areas,*
United States, 2020
                                                                                    Age (yrs)
                                    <15                15                 16                 17                   18                    19
Area                             No. (%)†           No. (%)            No. (%)             No. (%)              No. (%)               No. (%)           Total no.
Alabama                          21 (4.2)           29 (5.8)           48 (9.5)           58 (11.5)            146 (29.0)            202 (40.1)            504
Alaska                            7 (5.5)            5 (3.9)          16 (12.5)           23 (18.0)             15 (11.7)             62 (48.4)            128
Arizona                          24 (2.0)           47 (3.8)           71 (5.8)          134 (10.9)            362 (29.5)            588 (48.0)          1,226
Arkansas                         11 (3.6)           15 (4.9)           21 (6.9)           41 (13.5)             81 (26.6)            135 (44.4)            304
Colorado                         28 (2.9)           49 (5.1)           78 (8.2)          137 (14.3)            270 (28.2)            395 (41.3)            957
Delaware                              —§                 —§                 —§                  —§                    —§                    —§              —§
District of Columbia             11 (2.6)           15 (3.6)          52 (12.4)           81 (19.4)            102 (24.4)            157 (37.6)            418
Florida                         124 (2.3)          186 (3.5)          372 (7.0)          633 (12.0)          1,489 (28.2)          2,477 (46.9)          5,281
Georgia                          66 (2.4)           94 (3.4)          211 (7.7)          317 (11.6)            814 (29.8)          1,230 (45.0)          2,732
Hawaii                                —§                 —§                 —§                  —§                    —§                    —§              —§
Idaho                             9 (4.4)            7 (3.4)           20 (9.8)            17 (8.3)             66 (32.4)             85 (41.7)            204
Indiana                          16 (2.2)           39 (5.5)           60 (8.4)           82 (11.5)            199 (27.8)            319 (44.6)            715
Iowa                             14 (3.3)           21 (5.0)          45 (10.6)           60 (14.2)            107 (25.3)            176 (41.6)            423
Kansas                           20 (2.8)           29 (4.1)           65 (9.1)           87 (12.2)            222 (31.1)            291 (40.8)            714
Kentucky                         13 (3.6)           23 (6.3)          41 (11.2)           49 (13.4)             91 (24.9)            149 (40.7)            366
Louisiana                        22 (3.4)           42 (6.4)           64 (9.8)           90 (13.7)            194 (29.6)            244 (37.2)            656
Maine                             7 (4.1)            6 (3.5)          25 (14.6)           34 (19.9)             47 (27.5)             52 (30.4)            171
Massachusetts                    19 (1.7)           46 (4.0)           88 (7.7)          150 (13.2)            296 (26.0)            538 (47.3)          1,137
Michigan                         74 (3.0)          104 (4.3)          198 (8.1)          348 (14.3)            696 (28.6)          1,014 (41.7)          2,434
Minnesota                        28 (3.2)           39 (4.4)           65 (7.3)          132 (14.9)            261 (29.5)            360 (40.7)            885
Mississippi                      12 (3.9)           18 (5.8)           25 (8.1)           36 (11.7)             87 (28.2)            130 (42.2)            308
Missouri                              —§                 —§                 —§                  —§                    —§                    —§              —§
Montana                           6 (2.9)            9 (4.4)           16 (7.8)           39 (18.9)             61 (29.6)             75 (36.4)            206
Nebraska                          9 (3.5)           16 (6.3)           18 (7.1)           30 (11.8)             86 (33.9)             95 (37.4)            254
Nevada                           22 (2.7)           39 (4.8)           66 (8.1)          108 (13.2)            253 (31.0)            329 (40.3)            817
New Jersey¶                      42 (2.1)           77 (3.8)          186 (9.2)          398 (19.7)            558 (27.6)            764 (37.7)          2,025
New Mexico                       23 (4.5)           30 (5.8)           42 (8.2)          100 (19.5)            125 (24.3)            194 (37.7)            514
New York                        126 (2.3)          248 (4.5)          459 (8.4)          914 (16.7)          1,515 (27.7)          2,202 (40.3)          5,464
 New York City                   58 (1.9)          135 (4.5)          233 (7.8)          502 (16.8)            787 (26.3)          1,274 (42.6)          2,989
 New York State                  68 (2.7)          113 (4.6)          226 (9.1)          412 (16.6)            728 (29.4)            928 (37.5)          2,475
North Carolina                   56 (2.5)           94 (4.2)          186 (8.2)          252 (11.2)            665 (29.5)          1,004 (44.5)          2,257
North Dakota                          —§                 —§                 —§                  —§                    —§                    —§              —§
Ohio                             52 (3.0)          100 (5.7)          133 (7.6)          236 (13.5)            524 (29.9)            709 (40.4)          1,754
Oklahoma                         21 (5.3)            9 (2.3)           32 (8.1)           40 (10.2)            118 (29.9)            174 (44.2)            394
Oregon                           20 (3.0)           32 (4.8)           53 (7.9)           78 (11.6)            210 (31.2)            280 (41.6)            673
Pennsylvania                    102 (4.0)          130 (5.1)          212 (8.3)          311 (12.2)            713 (28.1)          1,071 (42.2)          2,539
Rhode Island                          —§                 —§                 —§                  —§                    —§                    —§              —§
South Carolina                   14 (2.8)           16 (3.1)           42 (8.3)          118 (23.2)            130 (25.5)            189 (37.1)            509
South Dakota                          —§                 —§                 —§                  —§                    —§                    —§              —§
Texas                           107 (2.3)          179 (3.8)          388 (8.2)          603 (12.8)          1,339 (28.4)          2,102 (44.6)          4,718
Utah                              6 (2.1)           13 (4.6)           16 (5.7)            27 (9.6)             85 (30.1)            135 (47.9)            282
Vermont                               —§                 —§                 —§                  —§                    —§                    —§              —§
Virginia                         21 (1.9)           51 (4.7)           86 (7.9)          136 (12.5)            321 (29.6)            471 (43.4)          1,086
Washington                       36 (2.2)           77 (4.7)          130 (8.0)          238 (14.6)            465 (28.5)            687 (42.1)          1,633
West Virginia                         —§                 —§                 —§                  —§                   —§                     —§              —§
Wisconsin**                      14 (2.2)           34 (5.4)           54 (8.6)           83 (13.2)            199 (31.6)            246 (39.0)            630
Wyoming                               —§                 —§                 —§                  —§                    —§                    —§              —§
Total                         1,230 (2.7)        1,997 (4.3)        3,765 (8.1)        6,354 (13.7)         13,198 (28.5)         19,699 (42.6)         46,243
Abortion rate††                       0.4                1.2                2.3                  4.0                    8.3                11.9             N/A
Abortion ratio§§                     828                517                404                  343                    371                 313              N/A
Abbreviation: N/A = not applicable.
 * Data from 46 reporting areas; excludes six reporting areas (California, Connecticut, Illinois, Maryland, New Hampshire, and Tennessee) that did not report, did not
   report age among adolescents by individual year, or did not meet reporting standards.
 † Percentages for the individual component categories might not add to 100% because of rounding.
 § Cells with a numerical value in the range of 1–4 and cells that would allow for calculation of these small values have been suppressed.
 ¶ Reporting to the central health agency is not required. Data are requested from hospitals and licensed ambulatory care facilities only.
** Includes residents only.
†† Number of abortions obtained by women in a given age group per 1,000 women in that same age group. Adolescents aged 13–14 years were used as the denominator
   for the group of adolescents aged <15 years. For the total abortion rate only, abortions for women of unknown age were distributed according to the distribution
   of abortions among women of known age.
§§ Number of abortions obtained by women in a given age group per 1,000 live births to women in that same age group. For the total abortion ratio only, abortions
   for women of unknown age were distributed according to the distribution of abortions among women of known age.


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TABLE 6. Number of reported abortions, by known race or ethnicity and reporting area of occurrence — selected reporting areas,*
United States, 2020
                                                      Non-Hispanic
                                                                                                                              Total abortions reported by known
                                  White                    Black                   Other†                  Hispanic                    race or ethnicity
Area                            No. (%)§                  No. (%)                  No. (%)                  No. (%)            No. (% of all reported abortions)¶
Alabama                       1,485 (26.0)             3,769 (66.1)                116 (2.0)                334 (5.9)                      5,704 (99.8)
Alaska                          530 (47.2)                 77 (6.9)               459 (40.9)                 56 (5.0)                      1,122 (93.0)
Arizona                       4,705 (36.4)             1,606 (12.4)              1,244 (9.6)             5,374 (41.6)                     12,929 (97.4)
Arkansas                      1,145 (36.5)             1,704 (54.4)                103 (3.3)                182 (5.8)                      3,134 (99.4)
Connecticut                   3,037 (33.8)             2,452 (27.3)                551 (6.1)             2,951 (32.8)                      8,991 (98.6)
Delaware                        858 (37.6)             1,065 (46.7)                 48 (2.1)               310 (13.6)                     2,281 (100.0)
District of Columbia            651 (16.2)                 31 (0.8)             2,610 (64.9)               727 (18.1)                      4,019 (91.0)
Florida                      20,706 (29.6)            26,213 (37.5)              2,684 (3.8)            20,299 (29.0)                     69,902 (93.4)
Georgia                       6,888 (19.5)            23,534 (66.5)              1,689 (4.8)              3,256 (9.2)                     35,367 (94.2)
Idaho                         1,107 (70.0)                 38 (2.4)                 67 (4.2)               369 (23.3)                      1,581 (94.1)
Indiana                       3,603 (47.2)             2,648 (34.7)                557 (7.3)               832 (10.9)                      7,640 (98.5)
Kansas                        3,889 (51.8)             1,913 (25.5)                613 (8.2)             1,097 (14.6)                      7,512 (99.8)
Kentucky                      2,192 (53.7)             1,412 (34.6)                170 (4.2)                310 (7.6)                      4,084 (99.5)
Michigan                     10,498 (36.9)            15,470 (54.4)              1,418 (5.0)              1,028 (3.6)                     28,414 (95.8)
Minnesota                     4,646 (49.7)             2,853 (30.5)             1,229 (13.2)                616 (6.6)                      9,344 (90.3)
Mississippi                     624 (17.6)             2,749 (77.3)                 79 (2.2)                103 (2.9)                      3,555 (99.9)
Missouri                         87 (56.1)                49 (31.6)                 12 (7.7)                  7 (4.5)                        155 (92.8)
Montana                       1,381 (82.4)                 28 (1.7)                165 (9.9)                101 (6.0)                     1,675 (100.0)
Nevada                        2,766 (34.4)             1,753 (21.8)             1,000 (12.4)             2,529 (31.4)                      8,048 (93.2)
New Mexico                      966 (25.6)                218 (5.8)               393 (10.4)             2,190 (58.1)                      3,767 (87.7)
North Carolina                7,871 (27.9)            14,738 (52.3)              2,049 (7.3)             3,548 (12.6)                     28,206 (94.0)
Oregon                        4,143 (61.8)                395 (5.9)               738 (11.0)             1,430 (21.3)                      6,706 (95.9)
South Carolina                2,404 (44.0)             2,363 (43.2)                244 (4.5)                457 (8.4)                     5,468 (100.0)
South Dakota                     80 (64.0)                      —**                      —**                  6 (4.8)                       125 (100.0)
Texas††                      14,473 (26.6)            16,393 (30.1)              3,450 (6.3)            20,152 (37.0)                     54,468 (98.8)
Utah                          1,326 (56.4)                106 (4.5)                182 (7.7)               736 (31.3)                      2,350 (99.5)
Vermont                       1,054 (87.7)                 56 (4.7)                 57 (4.7)                 35 (2.9)                      1,202 (98.0)
Virginia                      4,895 (33.9)             6,746 (46.7)             1,457 (10.1)              1,356 (9.4)                     14,454 (92.6)
West Virginia                   836 (83.5)               143 (14.3)                 17 (1.7)                  5 (0.5)                     1,001 (100.0)
Wyoming                          58 (68.2)                      —**                      —**                24 (28.2)                         85 (93.4)
Total                      108,904 (32.7)           130,538 (39.2)              23,427 (7.0)           70,420 (21.1)                     333,289 (95.5)§§
Abortion rate¶¶                        6.2                     24.4                     12.7                     11.4                               N/A
Abortion ratio***                     118                      426                      186                      173                                N/A
Abbreviation: N/A = not applicable.
  * Data from 30 reporting areas; excludes 22 reporting areas (California, Colorado, Hawaii, Illinois, Iowa, Louisiana, Maine, Maryland, Massachusetts, Nebraska, New
    Hampshire, New Jersey, New York City, New York State, North Dakota, Ohio, Oklahoma, Pennsylvania, Rhode Island, Tennessee, Washington, and Wisconsin) that
    did not report, did not report by race or ethnicity, or did not meet reporting standards.
  † Including Asian (Indian, Chinese, Filipino, Japanese, Korean, Vietnamese, or other Asian), Pacific Islander (Native Hawaiian, Guamanian or Chamorro, Samoan, or
    other Pacific Islander), other races, and multiple races.
  § Percentages for the individual component categories might not add to 100% because of rounding.
  ¶ Percentage is calculated as the number of abortions reported by known race or ethnicity divided by the sum of abortions reported by known and unknown race
    or ethnicity. Values ≥99.95% are rounded to 100.0%.
 ** Cells with a numerical value in the range of 1–4 and cells that would allow for calculation of these small values have been suppressed.
 †† Reporting form contains only one question for race or ethnicity; therefore, abortions reported for women of White, Black, and other races (Asian and Native
    American) are not explicitly identified as non-Hispanic.
 §§ Percentage based on a total of 348,975 abortions reported among the areas that met reporting standards for race and ethnicity.
 ¶¶ Number of abortions obtained by women in a given racial or ethnic group per 1,000 women aged 15–44 years in that same racial or ethnic group. For the total
    abortion rate only, abortions for women of unknown race or ethnicity were distributed according to the distribution of abortions among women of known race
    or ethnicity.
*** Number of abortions obtained by women in a given racial or ethnic group per 1,000 live births to women in that same racial or ethnic group. For the total abortion
    ratio only, abortions for women of unknown race or ethnicity were distributed according to the distribution of abortions among women of known race or ethnicity.




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TABLE 7. Number of reported abortions, by known marital status and reporting area of occurrence — selected reporting areas,* United States, 2020
                                                                    Marital status
                                                                                                                                 Total abortions reported by
                                                Married                                     Unmarried                               known marital status
Area                                            No. (%)†                                      No. (%)                         No. (% of all reported abortions)§
Alabama                                           560 (9.8)                                 5,142 (90.2)                                5,702 (99.8)
Alaska                                          253 (22.0)                                    898 (78.0)                                1,151 (95.4)
Arizona                                       1,944 (14.6)                                 11,329 (85.4)                              13,273 (100.0)
Arkansas                                        322 (10.3)                                  2,805 (89.7)                                3,127 (99.1)
Colorado                                      1,645 (18.0)                                  7,469 (82.0)                                9,114 (92.3)
Delaware                                        289 (12.7)                                  1,992 (87.3)                               2,281 (100.0)
Florida                                       9,800 (15.2)                                 54,764 (84.8)                               64,564 (86.2)
Georgia                                       4,112 (11.6)                                 31,188 (88.4)                               35,300 (94.1)
Idaho                                           349 (21.7)                                  1,258 (78.3)                                1,607 (95.7)
Illinois                                        4,037 (9.1)                                40,475 (90.9)                               44,512 (96.3)
Indiana                                       1,163 (15.0)                                  6,592 (85.0)                               7,755 (100.0)
Iowa                                            601 (14.8)                                  3,451 (85.2)                                4,052 (99.9)
Kansas                                        1,099 (14.7)                                  6,380 (85.3)                                7,479 (99.4)
Kentucky                                        523 (12.7)                                  3,581 (87.3)                               4,104 (100.0)
Louisiana                                         701 (9.5)                                 6,641 (90.5)                                7,342 (98.2)
Maine                                           296 (16.3)                                  1,524 (83.7)                                1,820 (88.2)
Michigan                                      2,957 (10.5)                                 25,198 (89.5)                               28,155 (94.9)
Minnesota                                     1,586 (15.9)                                  8,371 (84.1)                                9,957 (96.2)
Mississippi                                       285 (8.1)                                 3,255 (91.9)                                3,540 (99.5)
Missouri                                          63 (38.9)                                    99 (61.1)                                  162 (97.0)
Montana                                         269 (16.1)                                  1,405 (83.9)                                1,674 (99.9)
Nebraska                                        315 (13.5)                                  2,010 (86.5)                                2,325 (97.8)
New Jersey¶                                   2,910 (13.0)                                 19,523 (87.0)                               22,433 (97.7)
New Mexico                                      621 (15.3)                                  3,439 (84.7)                                4,060 (94.6)
New York City                                 5,661 (17.3)                                 27,126 (82.7)                               32,787 (87.4)
North Carolina                                3,841 (13.9)                                 23,756 (86.1)                               27,597 (92.0)
North Dakota                                    183 (15.6)                                    991 (84.4)                               1,174 (100.0)
Ohio                                          2,658 (13.9)                                 16,466 (86.1)                               19,124 (92.8)
Oklahoma                                        699 (18.4)                                  3,090 (81.6)                                3,789 (99.8)
Oregon                                        1,298 (21.3)                                  4,804 (78.7)                                6,102 (87.3)
Pennsylvania                                  3,755 (11.7)                                 28,281 (88.3)                               32,036 (99.7)
Rhode Island                                    325 (12.7)                                  2,242 (87.3)                                2,567 (98.3)
South Carolina                                  724 (13.2)                                  4,743 (86.8)                               5,467 (100.0)
South Dakota                                      18 (14.4)                                   107 (85.6)                                 125 (100.0)
Texas                                         8,776 (15.9)                                 46,346 (84.1)                              55,122 (100.0)
Utah                                            505 (21.5)                                  1,840 (78.5)                                2,345 (99.3)
Vermont                                         242 (22.2)                                    846 (77.8)                                1,088 (88.7)
Virginia**                                    1,800 (11.5)                                 13,804 (88.5)                              15,604 (100.0)
West Virginia                                   160 (16.0)                                    840 (84.0)                                1,000 (99.9)
Wisconsin                                       792 (12.4)                                  5,578 (87.6)                                6,370 (99.1)
Total                                        68,137 (13.7)                               429,649 (86.3)                               497,786 (94.6)††
Abortion ratio§§                                        46                                          412                                           N/A
Abbreviation: N/A = not applicable.
 * Data from 40 reporting areas excludes 12 reporting areas (California, Connecticut, the District of Columbia, Hawaii, Maryland, Massachusetts, Nevada, New Hampshire,
   New York State, Tennessee, Washington, and Wyoming) that did not report, did not report by marital status, or did not meet reporting standards.
 † Percentages for the individual component categories might not add to 100% because of rounding.
 § Percentage is calculated as the number of abortions reported by known marital status divided by the sum of abortions reported by known and unknown marital
   status. Values ≥99.95% are rounded to 100.0%.
 ¶ Reporting to the central health agency is not required. Data are requested from hospitals and licensed ambulatory care facilities only.
** Recorded as patient married or not married to father.
†† Percentage based on a total of 526,040 abortions reported among the areas that met reporting standards for marital status.
§§ Number of abortions obtained by marital status per 1,000 live births to women of the same marital status. For the total abortion ratio only, abortions for women
   of unknown marital status were distributed according to the distribution of abortions among women of known marital status.




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TABLE 8. Number of reported abortions, by known number of previous live births and reporting area of occurrence — selected reporting
areas,* United States, 2020
                                                        No. of previous live births
                                                                                                                              Total abortions reported by
                             0                  1                   2                    3                 ≥4             known number of previous live births
Area                     No. (%)†            No. (%)             No. (%)               No. (%)           No. (%)            No. (% of all reported abortions)§
Alabama                  1,854 (32.5)       1,601 (28.0)        1,263 (22.1)            619 (10.8)         376 (6.6)                   5,713 (100.0)
Alaska                     559 (46.4)         241 (20.0)          194 (16.1)            133 (11.0)          79 (6.6)                   1,206 (100.0)
Arizona                  5,752 (43.7)       2,760 (21.0)        2,403 (18.3)           1,278 (9.7)         962 (7.3)                   13,155 (99.1)
Arkansas                 1,041 (33.0)         827 (26.2)          713 (22.6)            337 (10.7)         236 (7.5)                   3,154 (100.0)
Colorado                 5,549 (56.4)       1,846 (18.8)        1,395 (14.2)             654 (6.7)         386 (3.9)                    9,830 (99.6)
Delaware                   903 (39.6)         589 (25.8)          482 (21.1)             187 (8.2)         120 (5.3)                   2,281 (100.0)
Florida                 28,028 (37.4)      19,048 (25.4)       15,952 (21.3)           7,113 (9.5)       4,727 (6.3)                  74,868 (100.0)
Georgia                 14,273 (38.0)       9,300 (24.8)        7,644 (20.4)           3,717 (9.9)       2,594 (6.9)                  37,528 (100.0)
Hawaii                     980 (56.4)         286 (16.5)          264 (15.2)             126 (7.3)          81 (4.7)                    1,737 (96.0)
Idaho                      851 (50.7)         330 (19.7)          278 (16.6)             138 (8.2)          81 (4.8)                    1,678 (99.9)
Indiana                  2,890 (37.3)       1,947 (25.1)        1,622 (20.9)            809 (10.4)         487 (6.3)                   7,755 (100.0)
Iowa                     1,721 (42.4)         848 (20.9)          755 (18.6)            429 (10.6)         302 (7.4)                    4,055 (99.9)
Kansas                   3,005 (39.9)       1,762 (23.4)        1,475 (19.6)            797 (10.6)         487 (6.5)                   7,526 (100.0)
Kentucky                 1,379 (33.6)       1,091 (26.6)          932 (22.7)            426 (10.4)         276 (6.7)                   4,104 (100.0)
Louisiana                2,227 (29.8)       2,025 (27.1)        1,739 (23.3)            908 (12.2)         574 (7.7)                   7,473 (100.0)
Maine                      997 (48.3)         443 (21.5)          383 (18.6)             160 (7.8)          81 (3.9)                   2,064 (100.0)
Massachusetts            6,306 (43.3)       3,586 (24.6)        2,857 (19.6)           1,235 (8.5)         578 (4.0)                   14,562 (88.5)
Michigan¶                9,856 (33.2)       7,724 (26.0)        6,631 (22.4)          3,224 (10.9)       2,220 (7.5)                  29,655 (100.0)
Minnesota                3,986 (38.6)       2,435 (23.6)        2,080 (20.1)          1,067 (10.3)         764 (7.4)                   10,332 (99.8)
Mississippi              1,048 (29.4)       1,028 (28.9)          776 (21.8)            434 (12.2)         273 (7.7)                   3,559 (100.0)
Missouri                    65 (38.9)          49 (29.3)           33 (19.8)                   —**               —**                     167 (100.0)
Montana                    823 (49.2)         330 (19.7)          298 (17.8)             134 (8.0)          89 (5.3)                    1,674 (99.9)
Nebraska                   904 (38.0)         529 (22.3)          491 (20.7)            263 (11.1)         189 (8.0)                    2,376 (99.9)
Nevada                   3,672 (42.8)       1,841 (21.5)        1,661 (19.4)             800 (9.3)         604 (7.0)                    8,578 (99.4)
New Jersey††             9,063 (39.5)       5,831 (25.4)        4,415 (19.2)           2,135 (9.3)       1,494 (6.5)                   22,938 (99.9)
New Mexico               1,607 (41.5)         851 (22.0)          714 (18.5)             378 (9.8)         319 (8.2)                    3,869 (90.1)
New York City           14,915 (43.5)       9,023 (26.3)        6,496 (18.9)           2,440 (7.1)       1,414 (4.1)                   34,288 (91.4)
North Carolina           9,207 (34.6)       6,330 (23.8)        5,445 (20.5)          2,918 (11.0)      2,712 (10.2)                   26,612 (88.7)
North Dakota               452 (38.5)         259 (22.1)          228 (19.4)            142 (12.1)          93 (7.9)                   1,174 (100.0)
Ohio§§                   6,485 (33.4)       5,010 (25.8)        4,326 (22.3)          2,140 (11.0)       1,447 (7.5)                   19,408 (94.2)
Oklahoma                 1,490 (39.3)         916 (24.2)          755 (19.9)            402 (10.6)         227 (6.0)                    3,790 (99.8)
Oregon                   3,608 (51.8)       1,377 (19.8)        1,149 (16.5)             506 (7.3)         326 (4.7)                    6,966 (99.6)
Pennsylvania            11,674 (36.3)       8,349 (26.0)        6,726 (20.9)          3,306 (10.3)       2,068 (6.4)                  32,123 (100.0)
Rhode Island             1,196 (45.8)         640 (24.5)          479 (18.4)             205 (7.9)          90 (3.4)                   2,610 (100.0)
South Carolina           2,226 (40.7)       1,348 (24.7)        1,121 (20.5)             489 (8.9)         284 (5.2)                   5,468 (100.0)
South Dakota                44 (35.2)          31 (24.8)           24 (19.2)             15 (12.0)          11 (8.8)                     125 (100.0)
Texas                   21,628 (39.2)      13,169 (23.9)       11,334 (20.6)          5,581 (10.1)       3,420 (6.2)                  55,132 (100.0)
Utah                     1,142 (48.4)         482 (20.4)          401 (17.0)             197 (8.3)         138 (5.8)                    2,360 (99.9)
Vermont                    630 (51.3)         252 (20.5)          207 (16.9)              91 (7.4)          47 (3.8)                   1,227 (100.0)
Virginia                 5,659 (36.3)       4,007 (25.7)        3,245 (20.8)          1,594 (10.2)       1,099 (7.0)                  15,604 (100.0)
Washington               7,979 (47.3)       3,669 (21.7)        3,041 (18.0)           1,371 (8.1)         821 (4.9)                   16,881 (99.8)
West Virginia              317 (31.7)         282 (28.2)          239 (23.9)            111 (11.1)          52 (5.2)                   1,001 (100.0)
Wyoming                     42 (46.7)          20 (22.2)           16 (17.8)                   —**               —**                       90 (98.9)
Total                 198,033 (39.1)     124,312 (24.5)      102,682 (20.3)           49,026 (9.7)      32,643 (6.4)                  506,696 (98.0)¶¶
 * Data from 43 reporting areas; excludes nine reporting areas (California, Connecticut, the District of Columbia, Illinois, Maryland, New Hampshire, New York State,
   Tennessee, and Wisconsin) that did not report, did not report by number of previous live births, or did not meet reporting standards.
 † Percentages for the individual component categories might not add to 100% because of rounding.
 § Percentage is calculated as the number of abortions reported by known number of previous live births divided by the sum of abortions reported by known and
   unknown number of previous live births. Values ≥99.95% are rounded to 100.0%.
 ¶ Recorded as the number of previous pregnancies carried to term.
** Cells with a numerical value in the range of 1–4 and cells that would allow for calculation of these small values have been suppressed.
†† Reporting to the central health agency is not required. Data are requested from hospitals and licensed ambulatory care facilities only.
§§ Recorded as the number of living children.
¶¶ Percentage based on a total of 517,261 abortions reported among the areas that met reporting standards for the number of previous live births.




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TABLE 9. Number of reported abortions, by known number of previous induced abortions and reporting area of occurrence — selected
reporting areas,* United States, 2020
                                                     No. of previous induced abortions                                         Total abortions reported by
                                                                                                                                    known number of
                               0                         1                        2                        ≥3                  previous induced abortions
Area                        No. (%)†                  No. (%)                  No. (%)                   No. (%)            No. (% of all reported abortions)§
Alabama                   3,721 (65.1)              1,300 (22.8)               465 (8.1)                227 (4.0)                      5,713 (100.0)
Alaska                      788 (65.3)                277 (23.0)                83 (6.9)                 58 (4.8)                      1,206 (100.0)
Arizona                   8,557 (65.2)              3,108 (23.7)             1,013 (7.7)                442 (3.4)                      13,120 (98.8)
Arkansas                  2,011 (63.8)                635 (20.1)               293 (9.3)                215 (6.8)                      3,154 (100.0)
Colorado                  6,784 (68.8)              2,111 (21.4)               642 (6.5)                328 (3.3)                      9,865 (100.0)
Delaware                  1,391 (61.0)                529 (23.2)               215 (9.4)                145 (6.4)                      2,280 (100.0)
Florida                  41,715 (55.7)             18,992 (25.4)           8,142 (10.9)               6,019 (8.0)                     74,868 (100.0)
Georgia                  23,266 (62.0)              8,693 (23.2)             3,522 (9.4)              2,047 (5.5)                     37,528 (100.0)
Hawaii                    1,128 (64.9)                379 (21.8)               138 (7.9)                 92 (5.3)                       1,737 (96.0)
Idaho                     1,339 (79.7)                250 (14.9)                66 (3.9)                 24 (1.4)                       1,679 (99.9)
Indiana                   5,292 (68.2)              1,628 (21.0)               572 (7.4)                263 (3.4)                      7,755 (100.0)
Iowa                      2,771 (68.3)                798 (19.7)               298 (7.3)                188 (4.6)                       4,055 (99.9)
Kansas                    5,265 (70.0)              1,473 (19.6)               507 (6.7)                281 (3.7)                      7,526 (100.0)
Kentucky                  2,685 (65.4)                925 (22.5)               310 (7.6)                184 (4.5)                      4,104 (100.0)
Louisiana                 4,589 (61.4)              1,900 (25.4)               640 (8.6)                344 (4.6)                      7,473 (100.0)
Maine                     1,364 (66.2)                459 (22.3)               161 (7.8)                 77 (3.7)                       2,061 (99.9)
Massachusetts             8,263 (52.1)              4,264 (26.9)           1,931 (12.2)               1,391 (8.8)                      15,849 (96.3)
Michigan                 15,291 (51.6)              7,421 (25.0)           3,975 (13.4)              2,969 (10.0)                     29,656 (100.0)
Minnesota                 5,988 (58.0)              2,485 (24.0)           1,056 (10.2)                 804 (7.8)                      10,333 (99.8)
Mississippi               2,388 (67.1)                806 (22.6)               269 (7.6)                 96 (2.7)                      3,559 (100.0)
Missouri                    127 (77.4)                 23 (14.0)                 9 (5.5)                  5 (3.0)                         164 (98.2)
Montana                     722 (43.1)                631 (37.7)             218 (13.0)                 104 (6.2)                      1,675 (100.0)
Nebraska                  1,630 (68.5)                496 (20.9)               148 (6.2)                104 (4.4)                      2,378 (100.0)
Nevada                    5,070 (59.2)              1,939 (22.7)             898 (10.5)                 650 (7.6)                       8,557 (99.1)
New Jersey¶              12,844 (55.9)              4,995 (21.7)           2,572 (11.2)              2,559 (11.1)                     22,970 (100.0)
New York City            12,826 (38.2)              8,133 (24.2)           5,757 (17.1)              6,897 (20.5)                      33,613 (89.6)
North Carolina           15,089 (56.8)              6,900 (26.0)           2,912 (11.0)               1,651 (6.2)                      26,552 (88.5)
North Dakota                778 (66.3)                255 (21.7)                93 (7.9)                 48 (4.1)                      1,174 (100.0)
Ohio                     11,085 (57.7)              4,757 (24.8)           2,056 (10.7)               1,304 (6.8)                      19,202 (93.2)
Oklahoma                  2,631 (69.5)                784 (20.7)               247 (6.5)                126 (3.3)                       3,788 (99.8)
Oregon                    4,408 (63.3)              1,535 (22.1)               598 (8.6)                418 (6.0)                       6,959 (99.5)
Pennsylvania             16,900 (52.6)              7,839 (24.4)           3,917 (12.2)              3,467 (10.8)                     32,123 (100.0)
Rhode Island              1,513 (58.0)                640 (24.5)             278 (10.7)                 178 (6.8)                       2,609 (99.9)
South Carolina            3,629 (66.4)              1,143 (20.9)               446 (8.2)                250 (4.6)                      5,468 (100.0)
South Dakota                 82 (65.6)                 28 (22.4)                10 (8.0)                  5 (4.0)                        125 (100.0)
Texas                    34,757 (63.0)             13,278 (24.1)             4,669 (8.5)              2,428 (4.4)                     55,132 (100.0)
Utah                      1,742 (74.3)                477 (20.3)               101 (4.3)                 25 (1.1)                       2,345 (99.3)
Vermont                     817 (66.6)                267 (21.8)                91 (7.4)                 52 (4.2)                      1,227 (100.0)
Virginia                  8,087 (51.8)              4,585 (29.4)           1,776 (11.4)               1,156 (7.4)                     15,604 (100.0)
Washington               10,056 (59.5)              3,910 (23.1)             1,612 (9.5)              1,322 (7.8)                      16,900 (99.9)
West Virginia               636 (63.5)                232 (23.2)                77 (7.7)                 56 (5.6)                      1,001 (100.0)
Wyoming                      65 (71.4)                 21 (23.1)                 5 (5.5)                  0 (0.0)                         91 (100.0)
Total                  290,090 (57.7)            121,301 (24.1)           52,788 (10.5)              38,999 (7.8)                     503,178 (98.1)**
 * Data from 42 reporting areas; excludes 10 reporting areas (California, Connecticut, the District of Columbia, Illinois, Maryland, New Hampshire, New Mexico, New
   York State, Tennessee, and Wisconsin) that did not report, did not report by number of previous induced abortions, or did not meet reporting standards.
 † Percentages for the individual component categories might not add to 100% because of rounding.
 § Percentage is calculated as the number of abortions reported by known number of previous induced abortions divided by the sum of abortions reported by known
   and unknown number of previous induced abortions. Values ≥99.95% are rounded to 100.0%.
 ¶ Reporting to the central health agency is not required. Data are requested from hospitals and licensed ambulatory care facilities only.
** Percentage based on a total of 512,968 abortions reported among the areas that met reporting standards for the number of previous induced abortions.




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TABLE 10. Number of reported abortions, by known weeks of gestation* and reporting area of occurrence — selected reporting areas,†
United States, 2020
                                                               Weeks of gestation
                                                                                                                                 Total abortions reported by known
                           ≤6               7–9            10–13           14–15         16–17         18–20          ≥21                 gestational age
Area                    No. (%)§          No. (%)          No. (%)        No. (%)        No. (%)      No. (%)       No. (%)       No. (% of all reported abortions)¶
Alabama**              1,333 (23.4)   2,746 (48.2) 1,072 (18.8)    234 (4.1)   144 (2.5)   130 (2.3)    37 (0.6)                               5,696 (99.7)
Alaska                   308 (25.5)     614 (50.9)   198 (16.4)     56 (4.6)    30 (2.5)      0 (—)       0 (—)                               1,206 (100.0)
Arizona                3,799 (28.6)   6,252 (47.1) 2,060 (15.5)    524 (3.9)   211 (1.6)   258 (1.9)   169 (1.3)                             13,273 (100.0)
Arkansas**               429 (13.6)   1,471 (46.6)   915 (29.0)    138 (4.4)    90 (2.9)    85 (2.7)    26 (0.8)                              3,154 (100.0)
Colorado               4,671 (47.3)   3,495 (35.4)     970 (9.8)   195 (2.0)   147 (1.5)   130 (1.3)   261 (2.6)                              9,869 (100.0)
Delaware                 628 (27.6)   1,209 (53.2)   337 (14.8)     79 (3.5)     9 (0.4)         —††         —††                               2,272 (99.6)
Florida               55,834 (74.6)  11,686 (15.6)   4,768 (6.4) 1,005 (1.3)   652 (0.9)   704 (0.9)   219 (0.3)                             74,868 (100.0)
Georgia               17,478 (46.6)  14,184 (37.8) 3,877 (10.3)    833 (2.2)   483 (1.3)   526 (1.4)   152 (0.4)                             37,533 (100.0)
Hawaii                   717 (39.6)     719 (39.7)   215 (11.9)     50 (2.8)    42 (2.3)    36 (2.0)    30 (1.7)                              1,809 (100.0)
Idaho                    512 (30.6)     814 (48.6)   271 (16.2)     53 (3.2)    16 (1.0)         —††         —††                               1,675 (99.7)
Indiana                2,061 (26.6)   4,244 (54.7) 1,382 (17.8)     14 (0.2)    10 (0.1)    19 (0.2)    26 (0.3)                              7,756 (100.0)
Iowa                   2,001 (49.3)   1,407 (34.7)   442 (10.9)     79 (1.9)    67 (1.7)    51 (1.3)    11 (0.3)                              4,058 (100.0)
Kansas                 3,120 (41.5)   2,748 (36.5) 1,092 (14.5)    238 (3.2)   135 (1.8)   152 (2.0)    40 (0.5)                              7,525 (100.0)
Kentucky               1,320 (32.2)   1,773 (43.2)   590 (14.4)    147 (3.6)   104 (2.5)   135 (3.3)    35 (0.9)                              4,104 (100.0)
Louisiana              2,351 (31.5)   3,185 (42.6) 1,389 (18.6)    316 (4.2)   179 (2.4)    52 (0.7)      0 (—)                               7,472 (100.0)
Maine                    746 (36.2)     955 (46.3)   267 (12.9)     43 (2.1)    27 (1.3)    25 (1.2)      0 (—)                               2,063 (100.0)
Michigan              11,427 (38.7)  11,775 (39.8) 3,891 (13.2)    956 (3.2)   643 (2.2)   524 (1.8)   349 (1.2)                              29,565 (99.6)
Minnesota              4,202 (41.4)   3,813 (37.5) 1,213 (11.9)    347 (3.4)   201 (2.0)   186 (1.8)   200 (2.0)                              10,162 (98.2)
Mississippi            1,181 (33.2)   1,716 (48.2)   485 (13.6)    160 (4.5)    14 (0.4)         —††         —††                              3,559 (100.0)
Missouri                    6 (3.6)      30 (18.0)           —††   22 (13.2)         —†† 24 (14.4)     39 (23.4)                                167 (100.0)
Montana                  717 (43.0)     658 (39.4)   201 (12.0)     39 (2.3)    29 (1.7)         —††         —††                               1,669 (99.6)
Nebraska                 963 (40.5)     914 (38.4)   330 (13.9)     86 (3.6)    43 (1.8)    30 (1.3)    12 (0.5)                              2,378 (100.0)
Nevada                 3,426 (40.0)   3,405 (39.7) 1,119 (13.1)    239 (2.8)   150 (1.7)   138 (1.6)    97 (1.1)                               8,574 (99.3)
New Jersey§§           9,704 (43.2)   7,927 (35.3) 2,567 (11.4)    840 (3.7)   550 (2.4)   461 (2.1)   424 (1.9)                              22,473 (97.8)
New Mexico             1,467 (40.0)   1,081 (29.5)   419 (11.4)    103 (2.8)    90 (2.5)   132 (3.6) 372 (10.2)                                3,664 (85.3)
New York City         16,732 (44.6)  13,281 (35.4) 4,256 (11.3)  1,003 (2.7)   652 (1.7)   825 (2.2)   773 (2.1)                             37,522 (100.0)
North Carolina        11,310 (38.2)  12,314 (41.6) 4,118 (13.9)    870 (2.9)   503 (1.7)   473 (1.6)    48 (0.2)                              29,636 (98.8)
North Dakota             448 (38.2)     483 (41.1)   183 (15.6)     47 (4.0)    11 (0.9)         —††         —††                              1,174 (100.0)
Ohio                   5,695 (27.6)   9,396 (45.6) 3,405 (16.5)    891 (4.3)   562 (2.7)   543 (2.6)   113 (0.5)                             20,605 (100.0)
Oklahoma               1,768 (46.9)   1,362 (36.1)   484 (12.8)     69 (1.8)    28 (0.7)    48 (1.3)    14 (0.4)                               3,773 (99.4)
Oregon                 3,286 (47.0)   2,436 (34.9)   761 (10.9)    181 (2.6)   120 (1.7)    95 (1.4)   110 (1.6)                              6,989 (100.0)
Rhode Island             983 (37.7)   1,065 (40.9)   373 (14.3)     66 (2.5)    55 (2.1)    48 (1.8)    16 (0.6)                               2,606 (99.8)
South Carolina**       1,210 (22.1)   2,003 (36.6) 1,936 (35.4)    294 (5.4)         —††         —††    12 (0.2)                              5,468 (100.0)
South Dakota              17 (13.7)      55 (44.4)     49 (39.5)         —††         —††         —††         —††                                 124 (99.2)
Texas**               22,093 (40.1)  21,849 (39.6) 7,205 (13.1)  1,902 (3.4) 1,016 (1.8)   784 (1.4)   283 (0.5)                             55,132 (100.0)
Utah                     857 (36.3)     864 (36.6)   430 (18.2)     83 (3.5)    48 (2.0)    51 (2.2)    29 (1.2)                              2,362 (100.0)
Vermont                  590 (48.1)     455 (37.1)      97 (7.9)    37 (3.0)    13 (1.1)    18 (1.5)    16 (1.3)                               1,226 (99.9)
Virginia               8,578 (55.0)   4,883 (31.3) 1,695 (10.9)    101 (0.6)    99 (0.6)   139 (0.9)   108 (0.7)                             15,603 (100.0)
Washington             7,291 (43.2)   6,457 (38.3) 1,818 (10.8)    433 (2.6)   247 (1.5)   279 (1.7)   346 (2.1)                              16,871 (99.8)
West Virginia            286 (28.6)     440 (44.0)   195 (19.5)     57 (5.7)    15 (1.5)         —††         —††                              1,001 (100.0)
Wyoming                   49 (54.4)      38 (42.2)           —††         —††      0 (—)       0 (—)       0 (—)                                   90 (98.9)
Total               211,594 (45.3) 166,202 (35.6) 57,108 (12.2) 12,830 (2.7) 7,456 (1.6) 7,154 (1.5) 4,382 (0.9)                             466,726 (99.6)¶¶
 * Gestational age based on clinician’s estimate (Alaska, Arizona, Colorado, Delaware, Florida, Georgia, Hawaii, Idaho, Indiana, Iowa, Kansas, Kentucky, Louisiana, Maine,
   Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New Jersey, New Mexico, New York City, North Carolina, North Dakota, Ohio, Oregon, Rhode
   Island, South Dakota, Vermont, Washington, West Virginia, and Wyoming); gestational age calculated from the last normal menstrual period (Oklahoma and Utah);
   clinician’s estimate of gestation based on estimated date of conception (Virginia); and probable postfertilization age (Alabama, Arkansas, South Carolina, and Texas).
 † Data from 41 reporting areas; excludes 11 reporting areas (California, Connecticut, the District of Columbia, Illinois, Maryland, Massachusetts, New Hampshire, New
   York State, Pennsylvania, Tennessee, and Wisconsin) that did not report, did not report by gestational age, or did not meet reporting standards.
 § Percentages for the individual component categories might not add to 100% because of rounding.
 ¶ Percentage is calculated as the number of abortions reported by known gestational age divided by the sum of abortions reported by known and unknown gestational
   age. Values ≥99.95% are rounded to 100.0%.
** Two weeks were added to the probable postfertilization age to provide a corresponding measure to gestational age based on the clinician’s estimate.
†† Cells with a numerical value in the range of 1–4 and cells that would allow for calculation of these small values have been suppressed.
§§ Reporting to the central health agency is not required. Data are requested from hospitals and licensed ambulatory care facilities only.
¶¶ Percentage based on a total of 468,686 abortions reported among the areas that met reporting standards for gestational age.




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TABLE 11. Percentage of reported abortions, by known weeks of gestation and year — selected reporting areas,* United States, 2011–2020
                                                                         Year                                                                  % Change
Weeks of
gestation          2011       2012       2013        2014       2015            2016      2017       2018       2019       2020     2019 to 2020    2011 to 2020
≤13 weeks’         91.3        91.2        91.4       90.8       90.9           90.9       91.1       91.5       92.0       92.5         0.5              1.3
 gestation (%)†
≤6                 34.2        34.9        34.6       33.8        34.4           34.6      35.5       36.8       38.0       39.9        5.0            16.7
7–9                40.1        39.5        39.9       39.9        39.9           40.1      40.1       39.7       39.6       39.2       −1.0            −2.2
10–13              17.0        16.9        16.9       17.1        16.5           16.2      15.5       15.0       14.4       13.4       −6.9           −21.2
>13 weeks’           8.7        8.8         8.6        9.2         9.1            9.1       8.9        8.5        8.0        7.5       −6.3           −13.8
 gestation (%)†
14–15                3.4        3.5         3.4        3.6         3.5          3.5          3.4        3.3        3.2        3.0      −6.3           −11.8
16–17                1.9        1.9         2.0        2.3         2.2          2.2          2.2        2.0        1.9        1.8      −5.3            −5.3
18–20                1.9        2.0         1.9        2.0         2.1          2.1          2.0        1.9        1.8        1.7      −5.6           −10.5
≥21                  1.4        1.4         1.4        1.4         1.4          1.3          1.3        1.2        1.2        1.1      −8.3           −21.4
Total no.§      465,754    441,667     421,900    414,437     403,641      397,773      383,417    385,163    388,802    377,664       N/A             N/A
Abbreviation: N/A = not applicable.
* Data from 33 reporting areas; excludes 19 areas (California, Connecticut, Delaware, the District of Columbia, Florida, Illinois, Maine, Maryland, Massachusetts,
  Mississippi, Nebraska, New Hampshire, New York State, Pennsylvania, Rhode Island, Tennessee, Vermont, Wisconsin, and Wyoming) that did not report, did not report
  by weeks of gestation, or did not meet reporting standards for ≥1 year.
† Percentages for the individual component categories might not add to 100% because of rounding.
§ By year, the total number of abortions represent 72.8%–94.4% of all abortions reported to CDC among the areas that met reporting standards for gestational age
  during 2011–2020.




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TABLE 12. Number of reported abortions, by known method type and reporting area of occurrence — selected reporting areas,* United States, 2020
                                         Surgical†                                          Medical
                         Surgical,        Surgical,       Surgical,       Medical,        Medical,         Medical,
                        ≤13 weeks’       >13 weeks’      unknown          ≤9 weeks’       >9 weeks’       unknown         Intrauterine    Hysterectomy/ Total abortions reported
                         gestation        gestation    gestational age    gestation       gestation     gestational age   instillation§    hysterotomy by known method type
                                                                                                                                                          No. (% of all reported
Area                     No. (%)¶         No. (%)          No. (%)         No. (%)         No. (%)          No. (%)         No. (%)          No. (%)           abortions)**
Alabama††                 2,641 (46.3)    541 (9.5)          8 (0.1)       2,411 (42.3)     94 (1.6)           9 (0.2)        0 (—)            0 (—)             5,704 (99.8)
Alaska                      669 (55.5)     85 (7.1)              —§§         433 (35.9)     17 (1.4)            0 (—)         0 (—)               —§§            1,205 (99.9)
Arizona                   5,506 (41.5)    933 (7.0)           0 (—)        6,329 (47.7)    343 (2.6)            0 (—)       154 (1.2)          0 (—)            13,265 (99.9)
Arkansas††                1,091 (34.6)   338 (10.7)           0 (—)        1,236 (39.2)   489 (15.5)            0 (—)         0 (—)            0 (—)            3,154 (100.0)
Colorado                  2,320 (25.2)    390 (4.2)           0 (—)        6,217 (67.6)    263 (2.9)            0 (—)         0 (—)            0 (—)             9,190 (93.1)
Connecticut¶¶                     N/A          N/A      3,157 (34.7)               N/A          N/A       5,942 (65.3)            —§§             —§§            9,100 (99.8)
Delaware                    672 (29.7)     94 (4.2)              —§§       1,385 (61.3)    100 (4.4)           7 (0.3)            —§§          0 (—)             2,260 (99.1)
District of               1,737 (39.3)    321 (7.3)           0 (—)                N/A          N/A       2,358 (53.4)        0 (—)            0 (—)            4,416 (100.0)
  Columbia***
Florida                 27,408 (38.2)    2,489 (3.5)          0 (—)       41,395 (57.7)     436 (0.6)           0 (—)         0 (—)            6 (0.0)          71,734 (95.8)
Georgia                 12,673 (33.8)    1,984 (5.3)          0 (—)       22,174 (59.1)     702 (1.9)           0 (—)         0 (—)            0 (—)           37,533 (100.0)
Hawaii                     767 (42.4)      158 (8.7)          0 (—)          875 (48.4)       9 (0.5)           0 (—)         0 (—)            0 (—)            1,809 (100.0)
Idaho                      708 (42.2)       75 (4.5)             —§§         841 (50.1)      47 (2.8)              —§§            —§§          0 (—)             1,677 (99.8)
Indiana                  3,439 (44.3)       58 (0.7)          0 (—)        4,165 (53.7)      94 (1.2)           0 (—)         0 (—)            0 (—)            7,756 (100.0)
Iowa                       634 (15.6)      201 (5.0)          0 (—)        3,071 (75.7)     151 (3.7)           0 (—)         0 (—)            0 (—)            4,057 (100.0)
Kansas                   1,918 (25.5)      561 (7.5)             —§§       4,749 (63.1)     297 (3.9)              —§§        0 (—)            0 (—)            7,526 (100.0)
Kentucky                 1,598 (38.9)    419 (10.2)           0 (—)        2,080 (50.7)       7 (0.2)           0 (—)         0 (—)            0 (—)            4,104 (100.0)
Maine                      527 (25.5)       92 (4.5)             —§§       1,343 (65.1)     101 (4.9)              —§§        0 (—)            0 (—)            2,064 (100.0)
Massachusetts†††                 N/A            N/A     8,669 (52.7)               N/A           N/A      7,773 (47.3)            —§§              —§§          16,443 (99.9)
Michigan                11,771 (39.8)    2,377 (8.0)        54 (0.2)      14,444 (48.9)     844 (2.9)         45 (0.2)            —§§              —§§          29,539 (99.6)
Minnesota                3,688 (35.7)      913 (8.8)        50 (0.5)       5,221 (50.5)     335 (3.2)        135 (1.3)        0 (—)            0 (—)            10,342 (99.9)
Mississippi                388 (10.9)      170 (4.8)             —§§       2,788 (78.3)     212 (6.0)           0 (—)         0 (—)                —§§          3,559 (100.0)
Missouri                        —§§        70 (43.5)          0 (—)              0 (—)      22 (13.7)           0 (—)             —§§              —§§             161 (96.4)
Montana                    488 (29.1)       91 (5.4)             —§§       1,037 (61.9)      51 (3.0)          6 (0.4)        0 (—)                —§§          1,675 (100.0)
Nebraska                   527 (22.2)      167 (7.0)          0 (—)        1,602 (67.4)      81 (3.4)           0 (—)         0 (—)            0 (—)            2,377 (100.0)
Nevada                   3,357 (40.0)      617 (7.4)        27 (0.3)       4,133 (49.3)     219 (2.6)         27 (0.3)            —§§              —§§           8,383 (97.1)
New Jersey§§§           11,156 (48.6)    2,238 (9.7)       340 (1.5)       8,783 (38.2)     296 (1.3)        159 (0.7)        0 (—)            0 (—)           22,972 (100.0)
New Mexico               1,171 (31.4)      364 (9.8)       117 (3.1)       1,579 (42.3)     351 (9.4)        149 (4.0)        0 (—)            0 (—)             3,731 (86.9)
New York                30,161 (49.0)    4,948 (8.0)     1,234 (2.0)      20,588 (33.4)   2,229 (3.6)      2,287 (3.7)       72 (0.1)         34 (0.1)          61,553 (97.5)
 New York City          20,957 (55.9)    3,094 (8.2)             —§§      12,850 (34.2)     558 (1.5)              —§§       25 (0.1)         34 (0.1)         37,519 (100.0)
 New York State          9,204 (38.3)    1,854 (7.7)             —§§       7,738 (32.2)   1,671 (7.0)              —§§       47 (0.2)          0 (—)            24,034 (93.8)
North Carolina           9,731 (33.8)    1,818 (6.3)        62 (0.2)      16,395 (56.9)     735 (2.6)         72 (0.2)            —§§              —§§          28,822 (96.1)
North Dakota               372 (31.7)       58 (4.9)             —§§         740 (63.0)           —§§           0 (—)         0 (—)            0 (—)            1,174 (100.0)

See table footnotes on the next page.




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TABLE 12. (Continued) Number of reported abortions, by known method type and reporting area of occurrence — selected reporting areas,*
United States, 2020
                                           Surgical†                                             Medical
                         Surgical,         Surgical,         Surgical,        Medical,         Medical,          Medical,
                        ≤13 weeks’        >13 weeks’        unknown           ≤9 weeks’        >9 weeks’        unknown          Intrauterine    Hysterectomy/ Total abortions reported
                         gestation         gestation      gestational age     gestation        gestation      gestational age    instillation§    hysterotomy by known method type
                                                                                                                                                                    No. (% of all reported
Area                      No. (%)¶          No. (%)           No. (%)           No. (%)         No. (%)           No. (%)           No. (%)          No. (%)             abortions)**
Ohio                      8,659 (42.0) 2,090 (10.1)                 —§§         9,711 (47.1)    140 (0.7)             0 (—)            0 (—)              —§§            20,602 (100.0)
Oklahoma                  1,087 (29.3)    154 (4.2)             5 (0.1)         2,287 (61.7)    156 (4.2)           19 (0.5)           0 (—)           0 (—)               3,708 (97.7)
Oregon                    2,407 (34.6)    447 (6.4)                 —§§         3,911 (56.1)    197 (2.8)                —§§           0 (—)              —§§              6,966 (99.6)
Pennsylvania¶¶                    N/A          N/A        15,757 (49.1)                 N/A          N/A       16,349 (50.9)              —§§             —§§            32,115 (100.0)
Rhode Island              1,084 (41.6)    182 (7.0)                 —§§         1,252 (48.0)     84 (3.2)                —§§              —§§          0 (—)               2,608 (99.9)
South Carolina††          1,463 (26.8)    311 (5.7)              0 (—)          2,546 (46.6) 1,142 (20.9)             0 (—)               —§§             —§§             5,467 (100.0)
South Dakota                 75 (60.5)          —§§              0 (—)             41 (33.1)      7 (5.6)                —§§           0 (—)           0 (—)                 124 (99.2)
Texas††                  22,331 (40.5)  3,932 (7.1)                 —§§        28,359 (51.4)    507 (0.9)             0 (—)            0 (—)              —§§            55,130 (100.0)
Utah                      1,252 (53.0)    202 (8.6)              0 (—)            878 (37.2)     30 (1.3)             0 (—)            0 (—)           0 (—)              2,362 (100.0)
Vermont                     223 (18.2)     77 (6.3)                 —§§           890 (72.6)     35 (2.9)                —§§           0 (—)           0 (—)               1,226 (99.9)
Virginia                  7,673 (49.3)    441 (2.8)                 —§§         7,315 (47.0)    147 (0.9)                —§§           0 (—)           0 (—)              15,577 (99.8)
Washington                6,305 (37.4)  1,288 (7.6)            12 (0.1)         9,023 (53.5)    219 (1.3)           25 (0.1)           0 (—)           0 (—)              16,872 (99.8)
West Virginia               421 (42.1)     66 (6.6)              0 (—)            445 (44.5)     69 (6.9)             0 (—)            0 (—)           0 (—)              1,001 (100.0)
Wisconsin¶¶,¶¶¶                   N/A          N/A         3,837 (60.6)                 N/A          N/A        2,499 (39.4)           0 (—)           0 (—)              6,336 (100.0)
Wyoming                            —§§       0 (—)               0 (—)             86 (96.6)          —§§             0 (—)            0 (—)           0 (—)                  89 (97.8)
Total                  218,734 (40.0)    36,531 (6.7)               —****    278,947 (51.0) 12,943 (2.4)                 —††††     241 (0.0)         72 (0.0)            547,468 (98.6)§§§§
Abbreviation: N/A = not applicable.
   * Data from 46 reporting areas; excludes six reporting areas (California, Illinois, Louisiana, Maryland, New Hampshire, and Tennessee) that did not report, did not report by method type,
     or did not meet reporting standards. Areas reporting by method type with unknown gestational age or gestational age reported was not compatible with categorizations presented
     in this table are not included.
   † Includes uterine aspiration (might also be called dilation and curettage, aspiration curettage, suction curettage, manual vacuum aspiration, menstrual extraction, sharp curettage) and
     dilation and evacuation procedures.
   § Intrauterine instillations reported at ≤12 weeks’ gestation were considered as unknown for method type.
   ¶ Percentages for the individual component categories might not add to 100% because of rounding.
  ** Percentage is calculated as the number of abortions reported by known method type divided by the sum of abortions reported by known and unknown method type. Values ≥99.95%
     are rounded to 100.0%.
  †† Two weeks were added to the probable postfertilization age to provide a corresponding measure to gestational age based on the clinician’s estimate.
  §§ Cells with a numerical value in the range of 1–4 and cells that would allow for calculation of these small values have been suppressed.
  ¶¶ Numbers for surgical abortions ≤13 weeks and >13 weeks and medical abortions ≤9 weeks versus >9 weeks are not presented as gestational age reported was not compatible with
     these categorizations.
 *** Gestational age based on clinician’s estimate. Numbers for medical abortions at ≤9 weeks versus >9 weeks are not presented because gestational age reported was not compatible
     with these categorizations.
 ††† Numbers for surgical abortions at ≤13 weeks versus >13 weeks and for medical abortions at ≤9 weeks versus >9 weeks are not presented because gestational age data were not provided
     by method type.
 §§§ Reporting to the central health agency is not required. Data are requested from hospitals and licensed ambulatory care facilities only.
 ¶¶¶ Includes residents only. Wisconsin reports as surgical, unspecified and does not differentiate surgical abortions from hysterectomy/hysterotomy. All abortions were reported as surgical
     or chemically induced. For this report, all surgical abortions were classified as surgical and all chemical abortions as medical.
**** For the total only, surgical abortions reported without a gestational age were distributed among the surgical abortion categories according to the distribution of surgical abortions at
     known gestational age.
†††† For the total only, medical abortions reported without a gestational age were distributed among the medical abortion categories according to the distribution of medical abortions at
     known gestational age.
§§§§ Percentage based on a total of 555,274 abortions reported among the areas that met reporting standards for method type.




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TABLE 13. Number of reported abortions, by known weeks of gestation and method type — selected reporting areas,* United States, 2020
                                                                                     Weeks of gestation
                                         ≤6                7–9              10–13            14–15           16–17            18–20            ≥21              Total
Method type                          No. (%)†            No. (%)           No. (%)          No. (%)          No. (%)         No. (%)          No. (%)          No. (%)
Surgical§
≤13 weeks’ gestation         66,200 (32.1)   66,659 (41.2)  46,364 (84.3)           N/A           N/A           N/A           N/A 179,223 (39.5)
>13 weeks’ gestation                  N/A             N/A            N/A 12,282 (98.8)    7,068 (97.7)  6,724 (96.2)  3,511 (86.3)   29,585 (6.5)
Medical¶
≤9 weeks’ gestation         140,098 (67.9)   94,922 (58.7)           N/A            N/A           N/A           N/A           N/A 235,020 (51.8)
>9 weeks’ gestation                   N/A             N/A    8,645 (15.7)     150 (1.2)      116 (1.6)     200 (2.9)    482 (11.8)     9,593 (2.1)
Intrauterine instillation              —**             —**        5 (0.0)        1 (0.0)      50 (0.7)      63 (0.9)      70 (1.7)       189 (0.0)
Hysterectomy/Hysterotomy          17 (0.0)        26 (0.0)        9 (0.0)        1 (0.0)       1 (0.0)       5 (0.1)       7 (0.2)        66 (0.0)
Total                     206,315 (100.0) 161,607 (100.0) 55,023 (100.0) 12,434 (100.0) 7,235 (100.0) 6,992 (100.0) 4,070 (100.0) 453,676 (100.0)
Abbreviation: N/A = not applicable.
 * Data from 40 reporting areas; excludes 12 reporting areas (California, Connecticut, the District of Columbia, Illinois, Louisiana, Maryland, Massachusetts, New
   Hampshire, New York State, Pennsylvania, Tennessee, and Wisconsin) that did not report, did not report by weeks of gestation, did not meet reporting standards,
   or did not have medical abortion as a specific category on their reporting form.
 † For each gestational age category, percentages of all method types might not add to 100% because of rounding.
 § Includes uterine aspiration (might also be called dilation and curettage, aspiration curettage, suction curettage, manual vacuum aspiration, menstrual extraction,
   sharp curettage) and dilation and evacuation procedures.
 ¶ The administration of medication or medications to induce an abortion; at ≤9 weeks’ gestation, typically involves the use of mifepristone and misoprostol and at
   >9 weeks’ gestation, typically involves the use of vaginal prostaglandins.
** Intrauterine instillations reported at ≤12 weeks’ gestation have not been included with known values.



TABLE 14. Number of reported abortions, by known weeks of gestation, age group, and race or ethnicity — selected reporting areas, United
States, 2020
                                                                            Weeks of gestation
                              ≤6                   7–9                10–13              14–15            16–17           18–20            ≥21                Total
Characteristic             No. (%)               No. (%)              No. (%)            No. (%)          No. (%)        No. (%)          No. (%)            No. (%)
Age group (yrs)*,†
<15                         259 (25.6)             358 (35.4)          205 (20.3)         68 (6.7)       40 (4.0)         46 (4.5)        35 (3.5)         1,011 (100.0)
15–19                    14,336 (37.9)          14,230 (37.6)        5,837 (15.4)      1,346 (3.6)      810 (2.1)        803 (2.1)       507 (1.3)        37,869 (100.0)
20–24                    57,008 (43.7)          48,095 (36.9)       16,649 (12.8)      3,601 (2.8)    2,087 (1.6)      1,916 (1.5)     1,090 (0.8)       130,446 (100.0)
25–29                    62,751 (46.3)          48,366 (35.7)       16,062 (11.8)      3,497 (2.6)    2,072 (1.5)      1,846 (1.4)     1,064 (0.8)       135,658 (100.0)
30–34                    43,986 (47.5)          32,087 (34.6)       10,599 (11.4)      2,434 (2.6)    1,319 (1.4)      1,350 (1.5)       921 (1.0)        92,696 (100.0)
35–39                    23,761 (47.5)          16,931 (33.9)        5,696 (11.4)      1,362 (2.7)      807 (1.6)        859 (1.7)       562 (1.1)        49,978 (100.0)
≥40                       8,846 (50.7)           5,505 (31.6)        1,823 (10.5)        481 (2.8)      294 (1.7)        303 (1.7)       182 (1.0)        17,434 (100.0)
Total                  210,947 (45.4)         165,572 (35.6)       56,871 (12.2)      12,789 (2.7)    7,429 (1.6)      7,123 (1.5)     4,361 (0.9)      465,092 (100.0)
Race or ethnicity*,§
Non-Hispanic
 White                   49,617 (47.3)          36,387 (34.7)       12,313 (11.7)      2,692 (2.6)    1,481 (1.4)      1,520 (1.4)       867 (0.8)       104,877 (100.0)
 Black                   55,749 (43.6)          46,628 (36.5)       17,308 (13.5)      3,608 (2.8)    1,972 (1.5)      1,809 (1.4)       714 (0.6)       127,788 (100.0)
 Other                    9,564 (47.4)           6,876 (34.1)        2,325 (11.5)        555 (2.8)      331 (1.6)        286 (1.4)       219 (1.1)        20,156 (100.0)
Hispanic                 34,236 (51.6)          21,446 (32.3)        7,059 (10.6)      1,514 (2.3)      878 (1.3)        816 (1.2)       425 (0.6)        66,374 (100.0)
Total                  149,166 (46.7)         111,337 (34.9)       39,005 (12.2)       8,369 (2.6)    4,662 (1.5)      4,431 (1.4)     2,225 (0.7)      319,195 (100.0)
* Percentages for the individual component categories might not add to 100% because of rounding.
† Data from 41 reporting areas; excludes 11 reporting areas (California, Connecticut, the District of Columbia, Illinois, Maryland, Massachusetts, New Hampshire, New
  York State, Pennsylvania, Tennessee, and Wisconsin) that did not report, did not report weeks of gestation by age, or did not meet reporting standards.
§ Data from 28 reporting areas; excludes 24 reporting areas (California, Colorado, Connecticut, the District of Columbia, Hawaii, Illinois, Iowa, Louisiana, Maine, Maryland,
  Massachusetts, Nebraska, New Hampshire, New Jersey, New York City, New York State, North Dakota, Ohio, Oklahoma, Pennsylvania, Rhode Island, Tennessee,
  Washington, and Wisconsin) that did not report, did not report weeks of gestation by race or ethnicity, or did not meet reporting standards.




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TABLE 15. Number of deaths and case-fatality rates* for abortion-related deaths reported to CDC, by type of abortion — United States,
1973–2019†
                                                                           Type of abortion
                                              Induced
Year                          Legal§                           Illegal¶                        Unknown**                            Total               CFR per 100,000 legal abortions
1973–1977                                                                                                                                                            2.09
1973                            25                                19                                 3                               47
1974                            26                                 6                                 1                               33
1975                            29                                 4                                 1                               34
1976                            11                                 2                                 1                               14
1977                            17                                 4                                 0                               21
1978–1982                                                                                                                                                            0.78
1978                             9                                 7                                 0                               16
1979                            22                                 0                                 0                               22
1980                             9                                 1                                 2                               12
1981                             8                                 1                                 0                                9
1982                            11                                 1                                 0                               12
1983–1987                                                                                                                                                            0.66
1983                            11                                 1                                 0                               12
1984                            12                                 0                                 0                               12
1985                            11                                 1                                 1                               13
1986                            11                                 0                                 2                               13
1987                             7                                 2                                 0                                9
1988–1992                                                                                                                                                            0.74
1988                            16                                 0                                 0                               16
1989                            12                                 1                                 0                               13
1990                             9                                 0                                 0                                9
1991                            11                                 1                                 0                               12
1992                            10                                 0                                 0                               10
1993–1997                                                                                                                                                            0.52
1993                             6                                 1                                 2                                9
1994                            10                                 2                                 0                               12
1995                             4                                 0                                 0                                4
1996                             9                                 0                                 0                                9
1997                             7                                 0                                 0                                7
1998–2002                                                                                                                                                            0.63
1998                             9                                 0                                 0                                9
1999                             4                                 0                                 0                                4
2000                            11                                 0                                 0                               11
2001                             7                                 1                                 0                                8
2002                            10                                 0                                 0                               10
2003–2007                                                                                                                                                            0.60
2003                            10                                 0                                 0                               10
2004                             7                                 1                                 0                                8
2005                             7                                 0                                 0                                7
2006                             7                                 0                                 0                                7
2007                             6                                 0                                 0                                6
2008–2012                                                                                                                                                            0.65
2008                            12                                 0                                 0                               12
2009                             8                                 0                                 0                                8
2010                            10                                 0                                 0                               10
2011                             2                                 0                                 0                                2
2012                             4                                 0                                 0                                4
2013–2019                                                                                                                                                            0.43
2013                             4                                 0                                 0                                 4
2014                             6                                 0                                 0                                 6
2015                             2                                 0                                 1                                 3
2016                             6                                 1                                 1                                 8
2017                             3                                 0                                 0                                 3
2018                             2                                 0                                 0                                 2
2019                             4                                 0                                 0                                 4
Abbreviation: CFR = case-fatality rate.
 * Number of legal induced abortion-related deaths per 100,000 reported legal induced abortions. Because a substantial number of legal induced abortions occurred outside reporting areas
   that provided data to CDC, national CFRs (i.e., number of legal induced abortion-related deaths per 100,000 reported legal induced abortions in the United States) were calculated with
   denominator data from the Guttmacher Institute’s national survey of abortion-providing facilities. Case-fatality rates were computed for consecutive 5-year periods during 1973–2012
   and then for a consecutive 7-year period during 2013–2019 because rates based on <20 cases might be unstable.
 † Certain numbers might differ from those in reports published previously because additional information has been supplied to CDC subsequent to publication.
 § An abortion is defined as legal if it was performed by a licensed clinician within the limits of state law.
 ¶ An abortion is defined as illegal if it was performed by any person other than a licensed clinician.
** Unknown whether abortion was induced or spontaneous.




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